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               14                        UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
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                       COSTAR GROUP, INC., and         Case No. 2:20-CV-8819 CBM (ASx)
               17      COSTAR REALTY
                       INFORMATION,
               18      INC.,                           FIRST AMENDED COMPLAINT
               19                  Plaintiffs,
               20           v.                         DEMAND FOR JURY TRIAL
               21      COMMERCIAL REAL ESTATE
                       EXCHANGE, INC.,
               22
                                   Defendant.
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                   1         Plaintiffs CoStar Group, Inc. (“CoStar Group”) and CoStar Realty
                   2   Information, Inc. (“CoStar Realty”) (collectively, “CoStar”), by and through its
                   3   undersigned counsel, bring this First Amended Complaint against Commercial
                   4   Real Estate Exchange, Inc. (“CREXi”) and allege as follows:
                   5                             PRELIMINARY STATEMENT
                   6                CoStar brings this suit to redress CREXi’s flagrant and widespread
                   7   theft of CoStar’s intellectual property and its unlawful scheme to build a
                   8   competing business on the back of that stolen content, and through the
                   9   unauthorized use of CoStar’s services.
               10                   CoStar is the nation’s leading provider of commercial real estate
               11      information, analytics, and online property marketplaces. CoStar offers a
               12      password-protected database subscription service used by brokers and other
               13      entities that require comprehensive commercial real estate data. CoStar also owns
               14      a number of digital marketplaces containing listings of real estate for sale and for
               15      lease. CoStar’s LoopNet.com website (“LoopNet”) is the leading digital
               16      marketplace for commercial real estate in the United States. Listings on LoopNet
               17      contain CoStar copyrighted images, data from the CoStar database, and edits made
               18      by CoStar researchers to improve marketability. Every day buyers, sellers, lessors,
               19      lessees, owners, and brokers access and use the marketplace at www.loopnet.com
               20      in order to list, buy, sell, lease, rent, or browse commercial real estate. In addition,
               21      CoStar runs a commercial real estate auction platform, known as Ten-X.com
               22      (“Ten-X”).
               23                   CREXi is attempting to build its own online commercial real estate
               24      marketplace and auction platform by free-riding on CoStar’s billions of dollars of
               25      investments and the thirty-plus years of hard work by CoStar’s employees. CREXi
               26      covertly harvests content, including broker directories, from CoStar’s subscription
               27      database without authorization by using passwords issued to other companies.
               28      CREXi also accesses LoopNet on a systematic basis to steal content, including

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                   1   property listing data (both lister-submitted and CoStar-created or derived), new
                   2   listing alerts, and CoStar-copyrighted photographs, all in breach of contract and in
                   3   violation of state and federal law.1 After copying content from multiple CoStar
                   4   sources, CREXi proudly and knowingly displays the stolen content on its rival
                   5   platform, and misleads the marketplace by claiming that it is organically growing a
                   6   successful business at warp speed. Put simply, CREXi is ripping off CoStar,
                   7   CoStar’s employees, and CoStar’s shareholders, and lying to its customers and the
                   8   industry.
                   9                  CREXi’s wrongdoing is remarkable in its scope. User accounts and
               10      IP addresses affiliated with CREXi have impermissibly accessed LoopNet more
               11      than a million times—at least—even though such high-volume competitor access
               12      is forbidden by CoStar’s terms of use. CREXi’s unauthorized access continued
               13      even after CoStar implemented blocking technology and sent CREXi thousands of
               14      notices stating that its access was unauthorized. Undeterred, CREXi switched IP
               15      addresses and continued using CoStar’s services to build a competitive product,
               16      and continued harvesting CoStar’s content on a wholesale basis.2
               17                     Indeed, based on a review of CREXi’s website through July 30, 2020,
               18      CoStar has identified well over ten thousand copyrighted CoStar photographs,
               19      copied and displayed by CREXi without permission. (To give a sense of the harm
               20      inflicted and scale of wrongdoing, recent federal judgments have placed a value of
               21      $50,000 on each CoStar image infringed.) These photographs almost certainly
               22      constitute a mere fraction of the total infringement present in CREXi’s systems, as
               23      CREXi’s public-facing website only displays photographs associated with listings
               24      CREXi has decided to publish.
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                         For the avoidance of doubt, CoStar’s allegations related to LoopNet in this case refer solely to
               26      CoStar’s LoopNet marketplace and not to broker websites powered by CoStar’s LoopLink
                       product.
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                         Even the institution of this lawsuit did not put an end to CREXi’s wrongdoing. Indeed, after
               28      CoStar filed its original complaint, CoStar continued to observe activity on LoopNet attributable
                       to CREXi. CREXi’s misconduct is willful and ongoing.
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                   1                Although CREXi is a relative newcomer, it is large and well-funded,
                   2   and could compete fairly with CoStar if it so chose. CREXi has purportedly
                   3   already raised $60 million, including a $30 million Series B funding announced in
                   4   January 2020. With those resources, CREXi could have grown its business
                   5   legitimately; it did not need to harvest content from CoStar in order to survive.
                   6   But CREXi has made the strategic choice to take a shortcut and build out its
                   7   business on the cheap by stealing from CoStar.
                   8                The rot permeates the company. CREXi account executives,
                   9   including Samuel Hamlin and Ross Padfield, obtained access to CoStar’s
               10      password-protected database by using passwords issued to CoStar customers, and
               11      then downloaded CoStar’s broker directories to build a clone directory on CREXi,
               12      using the stolen data to generate customer leads. Meanwhile, CREXi’s
               13      employees—as well as low-paid “researchers” in India working on CREXi’s
               14      behalf—routinely access LoopNet. Once there, CREXi copies CoStar’s content,
               15      including copyrighted photographs, real estate listing data, and broker information,
               16      to populate its website. Multiple CREXi managers and employees have even
               17      created LoopNet accounts, many using non-CREXi email addresses and
               18      pseudonyms to cover their tracks. For example, Nick Hanna, CREXi’s senior
               19      product manager, created a LoopNet account registered to “Hank Mardukus” at
               20      itsnotnick08@aol.com. Hank Mardukas is a fictional character from the 2009
               21      movie, “I Love You, Man.” The use of fake names helps CREXi employees make
               22      use of LoopNet, in violation of the terms of use barring competitive access,
               23      without being caught.
               24                   Beyond the improper use of CoStar’s subscription service to generate
               25      broker directories, and the direct theft of content from LoopNet, senior employees
               26      at CREXi unabashedly use LoopNet as a key tool to compete against CoStar.
               27      Several CREXi employees have set up “saved searches” on LoopNet so that they
               28      receive an email notification at a non-CREXi address whenever LoopNet publishes

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                   1   a listing that matches their identified criteria. For example, Michael Rosenfeld, a
                   2   CREXi account executive for the mid-Atlantic region, has created saved searches
                   3   that send notifications to “Mike Rose” at his personal gmail account whenever
                   4   LoopNet posts certain property listings in that region. CREXi is using the efforts
                   5   of a competing online marketplace, LoopNet, in order to identify new listings to
                   6   add to its site, rather than relying solely on its own efforts.
                   7                CREXi’s attempt to clone CoStar’s business is brazen. It has gone so
                   8   far as to infringe CoStar’s copyrighted photographs in the marketing materials it
                   9   uses to promote itself. Over the last several months, senior CREXi leadership—
               10      including Mr. Rosenfeld and Paul Cohen, CREXi’s National Sales Director—have
               11      hosted a number of virtual presentations to introduce CREXi in markets across the
               12      country. During the presentations, CREXi fraudulently and misleadingly claims
               13      that it has legitimately obtained more listings than its competitors. What CREXi
               14      does not advertise, however, is that it is harvesting a significant amount of listing
               15      content from CoStar. Indeed, even the sample listings shown in these virtual
               16      marketing campaigns contain infringing content copied from CoStar.
               17                   There is no question that CREXi knows that its conduct is wrongful.
               18      It is widely known that CoStar does not permit competitors to piggyback on its
               19      business—indeed, that is the norm in the industry. CoStar’s subscription service is
               20      password-protected. And CoStar has sent thousands of notices to CREXi
               21      specifically stating that it may not access LoopNet. CREXi itself has admitted in
               22      the ordinary course that it is not allowed to copy CoStar’s listing content from
               23      LoopNet. But the evidence shows that this is precisely what CREXi does. CREXi
               24      accesses a property listing on CoStar’s services. Shortly thereafter, the same
               25      property listing is added by CREXi to its website with CoStar’s copyrighted
               26      photographs. And in order to hide its copying of CoStar images featured in those
               27      listings, CREXi appears to be cropping out the CoStar watermark from CoStar-
               28      copyrighted photographs before adding them to CREXi. Even worse, CREXi often

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                   1   goes a step further and adds its own watermark to CoStar-copyrighted
                   2   photographs, affirmatively passing them off as its own.
                   3                There is also no question that CREXi itself is responsible for
                   4   uploading the stolen CoStar content—including copyrighted images—onto
                   5   CREXi’s site. That is the reason CREXi harvests the content from LoopNet.
                   6   Indeed, in many cases, the brokers whose listings CREXi has swiped from CoStar
                   7   have never even heard of CREXi—they contact CoStar to ask why their listings are
                   8   appearing on CREXi’s site. And even when CREXi does contact a listing broker,
                   9   CREXi offers to post the listing itself, without revealing that it is copying the
               10      listing from CoStar.
               11                   If CREXi’s objective were to grow a real estate marketplace
               12      legitimately, it could rely on brokers and property owners to provide their listings,
               13      as opposed to copying curated listings wholesale from a competitor. The
               14      legitimate approach would comply with the law, and also reflect industry norms.
               15      Commercial real estate marketplace sites typically bar competing firms from using
               16      their websites for competitive purposes and do not permit rivals to freely copy the
               17      website content.
               18                   The law, and those industry norms, benefit competition. Consumers
               19      and the market are better off when innovators have the incentive to create valuable
               20      services and products, as CoStar has done, because the innovators know their hard
               21      work and intellectual property will be protected. Value creation in this industry
               22      flows from the investment of time, money, and energy to collect, research, and
               23      generate data, and the years-long process of cultivating relationships of trust and
               24      reliance with brokers and consumers. CREXi’s alternative modus operandi—
               25      copying wholesale and repackaging content from a competitor—does nothing to
               26      benefit consumers, competition, or the market. CoStar is, of course, not obligated
               27      to help CREXi build out its rival business. And given CoStar’s ability to cultivate
               28      this same content and these same relationships by legitimate means, CREXi’s

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                   1   method is also not necessary; CREXi could grow the right way, by investing its
                   2   own resources and building its own relationships, and obtaining non-infringing
                   3   content directly from brokers, but it has chosen not to.
                   4                CREXi’s piggybacking on a competitor is all the more troubling in
                   5   light of CREXi’s repeated misleading public statements suggesting that it is
                   6   growing and gaining market share as a result of broker uploads, its relationships
                   7   with brokerage firms, and its purportedly innovative products, services, and
                   8   technology. The truth is that CREXi is growing by cheating: harvesting content
                   9   from CoStar, including broker directories, copyrighted images, and other content
               10      researched or created by CoStar.
               11                   As CREXi knows, CoStar has brought several successful lawsuits
               12      against rivals who seek to compete unfairly by covertly accessing CoStar’s
               13      websites, copying listings, and stealing CoStar’s copyrighted photographs. Like
               14      CREXi, Xceligent, Inc. copied real estate listings, including CoStar’s copyrighted
               15      images and other CoStar content, from LoopNet, and, like CREXi, used data from
               16      CoStar’s password-protected subscription service to build and expand its rival
               17      business. Also like CREXi, Xceligent ignored LoopNet’s “access denied” notices
               18      and rotated the IP addresses that it used in order to circumvent CoStar’s
               19      technological protections. And, like CREXi, Xceligent utilized low-paid labor in
               20      India so that it could access LoopNet on the cheap and around the clock. In a
               21      highly publicized lawsuit, CoStar sued Xceligent for copyright infringement and
               22      unfair competition, leading to a permanent injunction and a $500 million judgment,
               23      the largest in history for the infringement of copyrighted photographs. That
               24      judgment valued each unlawfully copied real estate listing and each infringed
               25      CoStar image at $50,000.
               26                   Even putting the large judgment aside, there is no question that
               27      Xceligent was a bad actor. After CoStar presented evidence that Xceligent had
               28      copied listings from LoopNet (using the same methods as CREXi), a monitor

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                   1   appointed by the Federal Trade Commission (“FTC”) independently concluded
                   2   that 38,489 images in Xceligent’s systems were “derived improperly by Xceligent
                   3   from the Database of CoStar.” A key Xceligent contractor stipulated to a multi-
                   4   count federal judgment in Pittsburgh after admitting that “with Xceligent’s
                   5   knowledge and at Xceligent’s direction, [the contractor and an affiliate] used
                   6   measures to circumvent CoStar’s security measures and thereby hack into CoStar
                   7   sites [primarily LoopNet] in order to populate the Xceligent databases with content
                   8   copied from CoStar.” Some of those circumvention measures reflect those
                   9   employed by CREXi, including the use of multiple IP addresses to evade detection.
               10      The same contractor conceded that “it was improper to use LoopNet . . . in its work
               11      for Xceligent” and that it “was wrong to copy content from [CoStar’s] sites into
               12      Xceligent's database.” Another affiliated Xceligent contractor agreed to be
               13      enjoined in India based on the same unauthorized copying from LoopNet, and was
               14      barred by court order from accessing CoStar-owned websites and databases for
               15      competitive purposes and from copying CoStar content without consent. And the
               16      officers and directors of a third contractor in the Philippines were indicted for
               17      violations of the Cybercrime Prevention Act of 2012. In recommending criminal
               18      charges, the Philippines Department of Justice observed that “accessing LoopNet
               19      in order to copy [CoStar’s] photographs before transmitting them to Xceligent” for
               20      “widespread infringement” was the “classic example of a computer crime.”3
               21      Xceligent acted unlawfully and paid the price—yet CREXi was undeterred.
               22      Rather, it adopted Xceligent’s playbook (while claiming, incredibly, that Xceligent
               23      was unfairly targeted by CoStar).
               24                    Perhaps unsurprisingly, CREXi is a repeat offender. CREXi’s co-
               25      founder and CEO, Michael DeGiorgio, and co-founder, Luke Morris, both of
               26      whom previously worked for Ten-X—the commercial real estate auction site that
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               28       The evidence gathered from that contractor by CoStar also featured in the indictment of another
                       of the contractor’s clients in the United States.
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                   1   is now part of CoStar—were caught red-handed with customer lists they took from
                   2   Ten-X to establish CREXi. In 2016, a California state court entered a preliminary
                   3   injunction prohibiting CREXi from using the customer lists that it had
                   4   misappropriated from Ten-X. To end the litigation, CREXi made a seven-figure
                   5   damages payment, and Mr. DeGiorgio stated: “I regret my conduct at the time I
                   6   departed Ten-X.” Clearly not. Mr. DeGiorgio, CREXi, and its employees have
                   7   continued to steal to get ahead, now on an even greater scale.
                   8                As a consequence of CREXi’s misconduct, CoStar is entitled to
                   9   millions of dollars in damages as well as injunctive relief to prevent continued
               10      irreparable harm to its business.
               11                                          BACKGROUND
               12                   Founded in 1987, CoStar employs more than four thousand people
               13      worldwide. As a result of these employees’ diligent efforts—and the investment of
               14      over $5 billion dollars over the last three decades—CoStar has developed the most
               15      comprehensive database of commercial real estate in the world, which includes
               16      painstakingly-researched and verified data about commercial real estate properties
               17      and transactions, integrated with millions of copyrighted photographs. CoStar and
               18      its affiliates expend enormous time and resources to populate and maintain the
               19      CoStar database, including averaging 24,000 thousand phone calls per day to
               20      brokers, owners, developers, and other real estate professionals, canvassing a half
               21      million properties per year nationwide, and taking nearly one million photographs
               22      annually. CoStar’s marketing research operations make millions of data changes
               23      to the CoStar database each day. CoStar works continuously to verify that the data
               24      contained in its database are up-to-date and reliable.
               25                   CoStar’s database is the engine that drives CoStar’s business,
               26      attracting paying subscribers, licensees, and users, and powering its various
               27      information services, analytical tools, and digital marketplaces, including LoopNet.
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                   1                 CoStar offers a password-protected subscription service that brokers
                   2   and other industry participants use to obtain comprehensive commercial real estate
                   3   data, news, and analytics, as well as copyrighted photographs of commercial real
                   4   estate properties. Although CoStar licenses its copyrighted images, brokers and
                   5   other CoStar customers are prohibited from providing those images to competitors.
                   6   This license limitation makes sense, given that CoStar invested significant
                   7   resources to create high-quality images for its subscribers, and has no incentive (or
                   8   obligation) to make them available to rivals for use in competing against CoStar.
                   9                CoStar also owns and operates a number of digital marketplaces with
               10      listings of real estate for sale and for lease. LoopNet is the nation’s leading digital
               11      marketplace for commercial real estate. Brokers and property owners use CoStar’s
               12      marketplaces, including LoopNet, to market their listings. CoStar’s marketplaces
               13      leverage the powerful CoStar database to build and enhance listings. For instance,
               14      if a broker or property owner wants to market a listing on LoopNet relating to a
               15      property that is in CoStar’s database, he or she can populate the LoopNet listing
               16      with CoStar’s copyrighted photographs and a variety of data that CoStar has added
               17      to the database through its various research efforts. Listings are reviewed by
               18      CoStar employees, who may rewrite portions of the text and add CoStar-
               19      researched or CoStar-generated data. Although the broker or property owner may
               20      upload his or her own photographs to the listing, this is not a requirement. Listers
               21      can, and often do, rely solely on CoStar’s copyrighted photographs. None of the
               22      photographs at issue in this litigation originated with brokers or property owners;
               23      rather, this lawsuit concerns CREXi’s infringement of photographs created, and
               24      copyrighted, by CoStar.
               25                   CoStar goes to significant lengths to protect the copyrighted
               26      photographs and data that it makes available. For instance, use of both CoStar’s
               27      subscription service and LoopNet are subject to binding terms of use that prohibit
               28      high-volume competitive use by rivals, such as CREXi, and any unauthorized

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                   1   copying of content. This restriction is industry standard. Many other commercial
                   2   real estate marketplaces—such as those operated by 42Floors, Inc., Catalyst Real
                   3   Estate Software, Inc., Yardi Systems, Inc., Brevitas, Inc., and RealMassive, Inc.—
                   4   prohibit competitive use of their websites.
                   5                CREXi was founded in 2015 by Michael DeGiorgio, Luke Morris,
                   6   Erek Benz, and Ben Widhelm. The founders had all worked at Ten-X, the auction
                   7   site that is now part of CoStar. CREXi describes itself on its website as “a
                   8   commercial real estate marketplace that simplifies transactions for brokers with a
                   9   suite of easy-to-use tools to manage the entire process from listing to closing.”
               10      CREXi’s website (www.crexi.com) allows users to view commercial real estate
               11      listings in markets across the country. CREXi also runs an online auction
               12      marketplace, similar to Ten-X, and in its auction marketing materials trumpet over
               13      $100 billion dollars in closed deals.
               14                   Outwardly, CREXi claims to be rapidly expanding under its own
               15      steam and gaining market share from rivals like LoopNet to become the biggest
               16      commercial real estate marketplace in the industry. During recent marketing
               17      presentations, CREXi claimed that it was now the “number one commercial
               18      marketplace in the country,” “really the place where all the listings are,” and that it
               19      has “far more listings than the competitors out there.” CREXi proclaims in its
               20      marketing emails that it is already “the most active CRE platform,” while
               21      simultaneously claiming to be “the fastest growing CRE marketplace.” And in a
               22      May 4, 2020 podcast, CREXi boasted that it is adding “thousands of properties a
               23      week” to its website with the goal of “building up the whole marketplace side of
               24      things.” Along similar lines, CREXi describes its recently-launched broker
               25      directory as “the only place” with “every commercial broker in the country.” All
               26      of these statements mislead customers, including brokers, and the ultimate
               27      consumers, such as buyers, sellers, owners, and tenants, regarding the way in
               28      which CREXi is really facilitating its growth, attracting them to a business that is

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                   1   falsely portraying itself as legitimate and self-sustainable, thereby harming CoStar
                   2   by diverting revenue and taking market share.
                   3                Rapid growth by virtue of its own efforts is a common CREXi refrain.
                   4   In a June 2020 marketing video, Paul Cohen bragged that “we’re the site where all
                   5   the listings are. The reason for that is quite simple: we’re a free to list platform.”
                   6   CREXi thus misleads customers into believing CREXi is succeeding because
                   7   brokers and property owners are taking advantage of their “free to list” platform by
                   8   uploading listings, when in reality, a huge number of listings are just copied from
                   9   CoStar by CREXi and posted with no broker involvement at all.
               10                   In the same marketing presentation, CREXi also attributed its
               11      exponential growth to its relationships with other industry players, telling
               12      customers they’ve “really taken off through partnerships.” This statement misleads
               13      customers into believing that CREXi’s growth is due to their wider integration in
               14      the commercial real estate market. In reality, CREXi has “taken off” by copying
               15      from a competitor.
               16                   Indeed, to the extent CREXi has grown in the past five years,
               17      purportedly to become “the number one” in the industry, it has not grown by
               18      investing the time (decades) or money (billions) that CoStar has. Instead, CREXi’s
               19      growth is attributable, at least in significant part, to CREXi willfully and
               20      systematically accessing CoStar services without authorization, stealing CoStar’s
               21      intellectual property and data, and using them to compete unfairly against CoStar.
               22                   For instance, CREXi account executives unlawfully accessed CoStar’s
               23      password-protected subscription database on behalf of, and while employed by,
               24      CREXi using log-in credentials they received while working at other companies
               25      who are CoStar clients. They did so in order to copy CoStar’s data, including
               26      thousands of broker directory and property records from CoStar’s systems. Upon
               27      information and belief, CREXi has used these directory records to build its rival
               28      directory and find potential customers for CREXi’s marketplace.

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                   1                Sam Hamlin, for example, quit his job at Colliers in 2019, then joined
                   2   CREXi as an account executive, but continued to use his Colliers account
                   3   credentials (while employed by CREXi) without authorization to access CoStar’s
                   4   subscription service more than a hundred times, accumulating over fifty thousand
                   5   product hits and downloading nearly four thousand CoStar Professional Directory
                   6   records, which would assist CREXi in generating customer leads.
                   7                This competitive access and use of unauthorized credentials is a
                   8   breach of CoStar’s Terms of Use, which Mr. Hamlin (and fellow CREXi account
                   9   executive Ross Padfield) assented to on behalf of, and while employed by, CREXi.
               10      CREXi’s disregard for CoStar’s data fits a pattern: as noted above, CREXi made a
               11      seven-figure payment to Ten-X in 2017 after it had been caught misappropriating
               12      substantially similar customer information. CREXi could compete fairly and
               13      survive based on its own efforts, but time and again it chooses not to.
               14                   At the same time it was accessing CoStar’s subscription service
               15      without authorization, CREXi’s employees and agents working on behalf of, and
               16      for the benefit of, CREXi have accessed LoopNet more than a million times (at
               17      least) in breach of binding terms and conditions. Once there, CREXi has copied,
               18      en masse, property listings containing CoStar’s copyrighted photographs and
               19      listing data. CREXi IP addresses have continued to hit CoStar’s marketplaces
               20      despite CoStar’s technological blocking efforts and repeated, swift written
               21      notice—displayed to CREXi literally thousands of times—that such conduct is
               22      contractually prohibited.
               23                   CREXi employees have also created accounts on LoopNet—often
               24      using non-CREXi email addresses and pseudonyms to mask their work on behalf
               25      of their current employer (CREXi). They set up “saved searches” to track when
               26      LoopNet adds property listings fitting specified criteria. When CREXi
               27      misleadingly claims that it is “building up the whole marketplace side of things,”
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                   1   CREXi really means that it is monitoring LoopNet for new listings to copy and
                   2   pass off as the fruit of CREXi’s own labor.
                   3               Despite publicly claiming that its growth is based on broker uploads
                   4   and industry relationships, CREXi often simply copies listings from LoopNet
                   5   without any contact with the broker representing the property listed on LoopNet.
                   6   Other times, CREXi contacts the listing broker and asks vaguely whether the
                   7   broker would like the listing to appear for free on CREXi, without specifying
                   8   where CREXi will obtain the relevant listing information. Then, rather than
                   9   generate its own listing (which would take time, effort, and resources that CREXi
               10      has and chooses not to deploy), CREXi copies and uploads the listing from
               11      LoopNet. As discussed in more detail below, listings on LoopNet typically contain
               12      CoStar copyrighted images, data from the CoStar database, and edits made by
               13      CoStar researchers. CREXi takes them anyway.
               14                  For example, and as discussed in Section D.5, infra, on May 14, 2020,
               15      CREXi viewed a listing for an Alabama property on LoopNet, and the next day the
               16      same property appeared on CREXi with a CoStar copyrighted photograph:
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                   1   protections of California’s laws and purposefully availed itself of the privilege of
                   2   conducting activities with California.
                   3                Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) and
                   4   1400(a) because CREXi resides in this judicial district, and a substantial part of the
                   5   events or omissions giving rise to CoStar’s claims occurred in this judicial district.
                   6                                     THE PARTIES
                   7                Plaintiff CoStar Group, Inc. is a corporation organized and existing
                   8   under the laws of the State of Delaware with its principal place of business and
                   9   corporate offices located at 1331 L Street, NW, Washington, District of Columbia,
               10      20005.
               11                   Plaintiff CoStar Realty Information, Inc. is a corporation organized
               12      and existing under the laws of the State of Delaware with its principal place of
               13      business and corporate offices located at 1331 L Street, NW, Washington, District
               14      of Columbia, 20005. It is a wholly owned subsidiary of CoStar Group.
               15                   Defendant CREXi is a corporation organized and existing under the
               16      laws of the state of Delaware with its principal place of business and corporate
               17      offices located at 4086 Del Rey Ave, Marina Del Rey, California, 90292.
               18      CREXi’s California Registration Statement lists its Entity Address as 13360 Beach
               19      Avenue, Marina Del Rey, CA 90292.
               20                                 FACTUAL ALLEGATIONS
               21            A.     CoStar Invests Significant Time and Money to Maintain the
               22                   Nation’s Most Comprehensive and Most Visited Commercial Real
               23                   Estate Services
               24                   Like many innovative technology companies, CoStar’s business began
               25      in its founder’s basement with a simple idea: empower commercial real estate
               26      brokers with professionally researched, unbiased commercial property information.
               27      Since its founding, and as a result of investments in excess of $5 billion dollars and
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                   1   the efforts of thousands of employees to execute its business plan, CoStar and its
                   2   affiliates have become the leading provider of commercial real estate information.
                   3                CoStar’s core product is its subscription database of real estate
                   4   information, which includes verified data about commercial real estate properties,
                   5   integrated with millions of CoStar’s copyrighted photographs. The database is part
                   6   of a suite of online services that include resources and tools for the real estate
                   7   industry.
                   8                CoStar generates, updates, and curates the database’s content at a cost
                   9   of hundreds of millions of dollars each year. CoStar’s research organization has
               10      more than 1,200 trained professionals who populate and maintain the database
               11      every minute of every working day and beyond. These professionals spend
               12      considerable time and effort proactively canvassing commercial properties, taking
               13      photographs, and gathering granular data about the properties to add to the
               14      database, even for properties that are not listed for sale or lease on one of CoStar’s
               15      marketplaces. CoStar’s research effort deploys a number of labor-intensive
               16      methods to generate this data, including scouring assessment records, SEC filings,
               17      and state and local reports; communicating extensively with brokers, owners, and
               18      other real estate professionals; and collecting information, from both public and
               19      non-public sources, about property specifications, such as sizes of lots, floors,
               20      suites, and details on various feature and amenities. CoStar researchers also
               21      employ proprietary CoStar software tools to gather detailed information about
               22      property dimensions and specifications that CoStar includes in the database.
               23                   Beyond property-level data, CoStar also gathers data on individual
               24      spaces within commercial properties, including whether the space is available for
               25      lease or for sale, the lease or sale price, and other such information. Again, this
               26      research includes public and non-public sources. CoStar’s database also includes
               27      various real estate valuation measures that are difficult to obtain and extremely
               28      valuable to all types of commercial real estate professionals. Specific sales

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                   1   conditions, buyer and seller motivations, and capitalization rates are painstakingly
                   2   collected item-by-item and added to the database. For CoStar, this is a time-
                   3   consuming and costly process. CoStar researches the identities of and contact
                   4   information for the owners, buyers, and sellers involved in sale and lease
                   5   transactions. Most of these owners, buyers, and sellers are anonymous
                   6   partnerships or limited liability corporations, but through individualized research
                   7   and interviews, CoStar uncovers and reports the identities of the individuals behind
                   8   these transactions. In total, CoStar’s research activities make millions of changes
                   9   to the database each year, and CoStar has taken, on average, over one million
               10      photographs annually in recent years.
               11                   CoStar licenses its subscription database content for a monthly fee.
               12      Those fees, which vary according to the scope of access the user seeks, generate
               13      significant revenue for CoStar.
               14                   CoStar provides this comprehensive commercial real estate
               15      intelligence to professionals throughout the economy, including real estate brokers
               16      and brokerage firms, owners and investors, property managers, lenders,
               17      developers, valuation professionals, as well as retailers, vendors, and corporations.
               18      The leading commercial real estate brokerages in the United States, as well as a
               19      significant number of smaller brokerages, property owners, banks, retailers, real
               20      estate investment trusts (REITs), and other professionals are subscribers. For
               21      example, brokers and brokerages use CoStar in their day-to-day business to
               22      identify available spaces for lease and evaluate potential sales. Pursuant to
               23      licenses, these users utilize CoStar’s professional, copyrighted photographs to
               24      market their listings.
               25                   Federal, state, and local government agencies rely on CoStar’s data
               26      for a variety of purposes. For example, government agencies use CoStar’s data to
               27      value commercial properties for tax purposes. CoStar’s investment in accurate
               28      information also benefits the banking sector. CoStar’s forecasts, risk modeling, or

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                   1   advisory services are used by nearly all of the top twenty “Systemically Important
                   2   Financial Institutions,” as well as federal regulators involved in stress testing those
                   3   banks. CoStar’s census of the commercial real estate environment and daily data
                   4   updates allow these banks and regulators to better manage the systemic risks that
                   5   led to the 2008 financial crisis, thereby benefitting the economy.
                   6                CoStar’s database powers digital marketplaces owned and operated by
                   7   CoStar. One such marketplace is LoopNet. LoopNet is a digital platform where
                   8   users can easily prepare and search commercial real estate listings. LoopNet
                   9   provides information on more than 650,000 for-lease and for-sale listings at any
               10      point in time and is a key revenue generator for CoStar. LoopNet’s users rely on
               11      the platform’s content being up-to-date, unbiased, and trustworthy.
               12                   LoopNet, like CoStar’s other marketplaces, leverages CoStar’s vast
               13      commercial real estate database to help market property listings. To add a listing
               14      on LoopNet, a lister (whether a broker or property owner) can start by simply
               15      typing in the property address. If the property is in the CoStar database, the lister
               16      can, and typically does, populate the LoopNet listing with CoStar’s copyrighted
               17      photographs and with a variety of data that CoStar researchers have added to the
               18      database using the techniques described above, from analyzing a variety of filings,
               19      to using proprietary tools, to conducting interviews with market participants.
               20                   Moreover, the listers can also pay LoopNet for varying levels of
               21      marketing services. LoopNet’s premium services, called Signature Ads, include
               22      labor-intensive contributions by CoStar marketing research professionals,
               23      including, among other things, custom professional photos, listing curation, and
               24      generation or revision of narrative property descriptions to increase marketability.
               25      The curation process involves reviewing, editing, and populating multiple data
               26      fields, including with data from the CoStar database. For other listings on
               27      LoopNet, a marketing researcher will likewise conduct a curation of the listing and
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                   1   may also help generate or revise a narrative property description to increase
                   2   marketability. Thus, property listings on LoopNet reflect input by CoStar.
                   3                Together, CoStar’s subscription database, LoopNet, and CoStar’s
                   4   other digital marketplaces provide broad access to vast commercial real estate data,
                   5   helping to level the playing field in a $43 trillion per year U.S. industry.
                   6   Ultimately, CoStar’s investment in its services provides enormous benefits to
                   7   CoStar’s customers, other participants in the commercial real estate market, and
                   8   the economy at large. CoStar delivers value not only by bringing together parties
                   9   that are looking to transact, but also by ensuring the reliability of the information
               10      that is shared across its services. By supplying comprehensive data to the
               11      marketplace, CoStar helps reduce transaction- and search-related costs, leading to
               12      efficiency gains that benefit potential buyers, sellers, lessees, and lessors, as well
               13      as third-party consumers of CoStar’s information, such as banks and government
               14      agencies. And because one of the key drivers of CoStar’s value is ensuring that its
               15      services are trusted and up-to-date, CoStar is incentivized to invest in creating and
               16      updating in real time a highly reliable database.
               17                   The important role that CoStar plays in the commercial real estate
               18      market is demonstrated by the extent to which its users interact with its services.
               19      Each day, users conduct over nine million searches for commercial real estate
               20      using CoStar services. CoStar estimates that its services play a part in supporting
               21      trillions of dollars of commercial real estate transactions in the United States each
               22      year.
               23                   Although CoStar has a number of competitors in each of its
               24      businesses, including its digital marketplaces, it has fought to outwork and
               25      outperform the competition through constant innovation and reinvestment over
               26      three decades. More than thirteen thousand CoStar researchers have contributed to
               27      the subscription database since its creation, adding millions of properties, shooting
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                   1   millions of professional photos and drone videos, and driving and flying millions
                   2   of miles per year.
                   3                The benefits that CoStar’s services provide to its customers and the
                   4   economy at large, and CoStar’s ability to continue generating job opportunities, are
                   5   a direct result of the company’s relentless efforts to research, collect, and create
                   6   content. The protection of that content, including CoStar’s intellectual property—
                   7   and CoStar’s ability to vindicate its rights therein—is therefore critically important.
                   8   If CoStar were somehow required to open its products to competitors and help
                   9   them compete, its incentive to invest, to innovate, and to provide the benefits set
               10      forth above would disappear.
               11            B.     CoStar Goes to Significant Lengths to Protect Its Intellectual
               12                   Property And the Content That It Presents to Consumers
               13                   CoStar’s intellectual property, and the other content that it gathers,
               14      curates, and generates, is at the root of CoStar’s products and therefore is central to
               15      its business. CoStar protects that content in three primary ways. First, CoStar
               16      registers its photographs with the United States Copyright Office. Second, users
               17      must assent to CoStar’s binding terms in order to use any of the CoStar services.
               18      Third, CoStar employs anti-piracy technology.
               19                   1.      Copyright Protection
               20                   A key element of CoStar’s intellectual property is its repository of
               21      photographs of commercial real estate. CoStar owns the largest library of
               22      commercial real estate images in the world, including millions of photographs of
               23      commercial real estate taken by professional photographers employed by CoStar.
               24      As discussed above, these copyrighted photographs are used in CoStar’s services,
               25      including its subscription database and LoopNet marketplace.
               26                   As CoStar adds photographs to its services, it routinely registers them
               27      with the Copyright Office. CoStar is currently registering tens of thousands of
               28      photographs per month.

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                   1                CoStar watermarks the images it owns with a logo in the bottom right
                   2   hand corner, as shown in multiple examples above. This watermark, which
                   3   publicly identifies CoStar’s ownership of the images and protects CoStar’s
                   4   property, constitutes copyright management information.
                   5                CoStar watermarks its copyrighted photographs to police infringement
                   6   and has used its watermarks to identify infringers in the past, including rivals such
                   7   as Xceligent. Moreover, the presence of watermarks helps third parties, including
                   8   other companies in the commercial real estate industry, recognize and remove
                   9   infringing images. Indeed, at one time, Xceligent retained a vendor to review and
               10      reject images bearing CoStar’s watermark in an effort to avoid copyright
               11      infringement. Users may provide their own photographs to CoStar for use on their
               12      listings in all CoStar services. CoStar does not claim ownership or copyright in
               13      user-uploaded photos. CoStar’s practice of watermarking is reserved for its
               14      copyrighted photographs and does not include watermarking photographs that are
               15      user-uploaded.
               16                   2.    Terms of Use Protection
               17                   CoStar requires users of its services, including CoStar’s subscription
               18      database and LoopNet, to agree to binding terms and conditions.
               19                   Use of CoStar’s website, including its subscription database, is subject
               20      to CoStar’s Terms of Use (“CoStar’s Terms of Use”). A genuine copy of CoStar’s
               21      Terms of Use applicable from January 30, 2019, through the filing of the original
               22      Complaint are attached as Exhibit A.
               23                   In order to log into the CoStar subscription database, users must enter
               24      their username and password on a login page. Below the “Log In” button, users
               25      are reminded that “By clicking ‘Log In’, I accept CoStar’s Terms of Use.” The
               26      text includes a conspicuous hyperlink to CoStar’s Terms of Use:
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                   9                In addition, before users first log into CoStar’s subscription database,
               10      CoStar sends them an email reminding them that their use of Costar’s database is
               11      subject to CoStar’s Terms of Use. The email states, “Use is subject to the CoStar
               12      Terms of Use. By logging in, you agree to be bound by such terms.”
               13                   Further, after initially logging into CoStar’s database, users are
               14      periodically required to agree (again) to CoStar’s Terms of Use. Every 30 days, a
               15      pop-up window appears that displays CoStar’s Terms of Use and requires the user
               16      to affirmatively agree to the terms before proceeding to the database. Thus, for
               17      example, if a user has not logged into CoStar’s database for 45 days, the next time
               18      the user logs in and tries to access information, the pop-up window will appear,
               19      and the user must re-accept the terms in order to gain access. The text at the top of
               20      the pop-up window states: “YOUR USE OF THIS WEBSITE CONSTITUTES
               21      YOUR AGREEMENT TO BE BOUND BY THESE TERMS OF USE.” Users
               22      who decline are redirected to the homepage.
               23                   CoStar’s users are also reminded of their obligation to abide by
               24      CoStar’s Terms of Use throughout their interactions with the database. For
               25      example, when a user attempts to export data from the database, text above the
               26      “Export” button informs users: “Exported data subject to restrictions. See Terms
               27      of Use.” As with the login page, clicking the words “Terms of Use” displays
               28      Costar’s Terms of Use.

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                                    Moreover, when users view results in the subscription database, the
                   6
                       bottom of results pages advises: “By using this site, you agree to our Terms of
                   7
                       Use.” This text also includes a hyperlink to CoStar’s Terms of Use.
                   8
                                    As a result of these numerous and conspicuous notices, CREXi, its
                   9
                       employees, and its agents had actual and constructive notice that their use of
               10
                       CoStar’s subscription database is subject to CoStar’s Terms of Use.
               11
                                    Likewise, CREXi, its employees, and its agents are aware that
               12
                       CoStar’s Terms of Use form a binding contract. CoStar’s Terms of Use make clear
               13
                       that they form a binding contract, stating: “By accessing or using this Site (or any
               14
                       part thereof), you agree to be legally bound by the terms and conditions that follow
               15
                       . . . . They constitute a legal contract between you and CoStar . . . .”
               16
                                    CoStar’s Terms of Use, provided to and made available to users on
               17
                       multiple occasions as they interact with the database, provide that only
               18
                       “Authorized Users” may access CoStar’s password protected services.
               19
                       “Authorized User” is defined as:
               20
                                    [A]n individual (a) employed by a CoStar Client or an
               21
                                    Exclusive Contractor (as defined below) of a CoStar
               22                   Client at a site identified in the License Agreement, and
               23                   (b) who is specified in the License Agreement as a user
                                    of a specific Passcode Protected Service and represented
               24
                                    by the Client to be an employee or Exclusive Contractor
               25                   of the Client. An “Exclusive Contractor” is defined as an
               26                   individual person working solely for the CoStar Client
                                    and not another company with real estate information
               27
                                    needs or for themselves and performing substantially the
               28                   same services for such CoStar Client as an employee of
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                   1                such CoStar Client.
                   2                Under CoStar’s Terms of Use, an Authorized User “may not share
                   3   his/her Passcodes with any other person, nor may an Authorized User allow any
                   4   other person to use or have access to his/her Passcodes.”
                   5                Further, CoStar’s Terms of Use expressly forbid competitors from
                   6   accessing, using, or transmitting any portion of CoStar’s content in the subscription
                   7   database service:
                   8                [Y]ou shall not . . . (2) Access or use any portion of the
                   9                Product if you are a direct or indirect competitor of
                                    CoStar, nor shall you provide, disclose or transmit any
               10
                                    portion of the Product to any direct or indirect competitor
               11                   of CoStar (by way of example, a “direct or indirect
               12                   competitor” of CoStar includes, but is not limited to,
               13                   Internet listing services or other real estate information
                                    services and employees, independent contractors and
               14
                                    agents of such services)
               15

               16                   In other words, an individual may not use CoStar log-in credentials
               17      obtained through a previous employer to access or use the CoStar subscription
               18      product once that person has left the employer (because they are no longer
               19      “employed by a CoStar Client”) or if they are acting as a “direct or indirect
               20      competitor of CoStar” (even if also employed simultaneously by a CoStar Client).
               21      Nor may the person use those credentials (even of a current employer) at any time
               22      to “provide, disclose, or transmit” information to CoStar’s competitors.
               23                   Similarly, use of LoopNet is subject to LoopNet’s Terms and
               24      Conditions (“LoopNet’s Terms and Conditions”). A genuine copy of LoopNet’s
               25      current Terms and Conditions is attached hereto as Exhibit B.
               26                   As discussed below, CREXi, its employees, and its agents have
               27      assented to LoopNet’s Terms and Conditions many times in the past years. During
               28      this period, CoStar has occasionally updated LoopNet’s Terms and Conditions.
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                   1                 Prior to the filing of the original Complaint, LoopNet account holders
                   2   at CREXi logged into LoopNet using the process described above—i.e., by
                   3   entering their email addresses, passwords, and clicking “Log In.” During that
                   4   time, no LoopNet account holders at CREXi logged onto LoopNet using the
                   5   “Connect with Google” feature.4
                   6                 As a result of these numerous and conspicuous notices, CREXi and its
                   7   employees and agents had actual and constructive notice that their use of
                   8   LoopNet’s website is subject to LoopNet’s Terms and Conditions.
                   9                 As is standard in the industry, LoopNet’s Terms and Conditions make
               10      clear that they form a binding contract with those who use the website, stating:
               11      “By viewing, using, or accessing the Service, You agree that these Terms and
               12      Conditions are a binding legal agreement between You and LoopNet.”
               13                    LoopNet’s Terms and Conditions also expressly prohibit competitors
               14      from accessing and using the website. Specifically, LoopNet’s Terms and
               15      Conditions state, in part:
               16                    No employee, independent contractor, agent, or affiliate
               17                    of any competing real estate information, analytics or
                                     listings service is permitted to be a User or a Customer or
               18
                                     to view, use, or access the LoopNet website without
               19                    express written permission from LoopNet. By viewing,
               20                    using, or accessing the Service, You represent and
                                     warrant that You are not a competitor of LoopNet,
               21
                                     CoStar Realty Information, Inc. or any of its affiliates,
               22                    including, without limitation, any company owned or
               23                    operated by CoStar Group, Inc. (collectively, “LoopNet”
                                     or the “Company”) or acting on behalf of a competitor of
               24
                                     LoopNet in registering for or accessing the Service.
               25

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                       4
                         LoopNet subsequently added a similar log-in option, “Connect with LinkedIn” on October 15,
               28      2020, after CoStar filed its original Complaint. No LoopNet account holders at CREXi have
                       logged onto LoopNet using the “Connect with LinkedIn” feature.
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                   1                LoopNet’s Terms and Conditions also strictly prohibit competitive use
                   2   of the LoopNet content, including reproducing any information copied from
                   3   LoopNet:
                   4                You . . . shall not use any information obtained from the
                   5                Service for further distribution, publication, public
                                    display, or preparation of derivative works or facilitate
                   6
                                    any of these activities in any way. You shall not use or
                   7                reproduce any Content that is obtained from the Service,
                   8                or that is otherwise made available to You in the Service,
                                    for or in connection with any other listing service or
                   9
                                    device. You further shall not use the Service in any other
               10                   manner for or in connection with any other listing service
               11                   or device. You shall not use the LoopNet Service as part
                                    of any effort to compete with LoopNet, including,
               12
                                    without limitation, using the LoopNet Service to provide,
               13                   alone or in combination with any other product or
               14                   service, any database services to any third party or any
               15                   use that causes a reduction or loss from an existing or
                                    potential LoopNet customer, nor shall You remove,
               16
                                    erase, or tamper with any copyright or other proprietary
               17                   notice printed or stamped on, affixed to, or encoded or
               18                   recorded in the LoopNet Service. You shall not use any
                                    robot, spider or other automated process to submit
               19
                                    listings, monitor, data mine or copy LoopNet products,
               20                   services or information; decompile, decode or reverse
               21                   engineer LoopNet software; or use LoopNet products or
               22
                                    services in an unlawful manner, such as for offensive,
                                    abusive, tortious, libelous, defamatory or other illegal
               23
                                    purposes.
               24

               25                   CoStar protects the content on LoopNet through binding terms and

               26      conditions in part because the market for commercial real estate information is

               27      intensely competitive. Competitors to CoStar spring up on a regular basis, and

               28      CoStar’s terms and conditions help ensure that CoStar is able to protect the fruits

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                   1   of its labors from unscrupulous competitors and continue to make the large
                   2   investments that benefit its customers.
                   3                  As set forth below, CREXi’s misconduct against CoStar involves a
                   4   significant number of its employees, including those in management roles, and a
                   5   pattern of wrongdoing consistent across time and around the country, including
                   6   repeated use of the CoStar database and LoopNet, and repeated assent to, and
                   7   notice of, the applicable terms and conditions. These are not isolated incidents, or
                   8   the actions of rogue employees.5 All actions alleged to be taken by employees of
                   9   CREXi, including their entry into these contracts with CoStar, are alleged, on
               10      information and belief, to have been taken on behalf of, at the direction of, or for
               11      the benefit of CREXi, and authorized or ratified by CREXi.
               12                     In addition to the terms governing the CoStar database and LoopNet,
               13      CoStar separately licenses its copyrighted photographs and content to commercial
               14      real estate brokerages for use on their own websites and in their own marketing
               15      material subject to various contractual restrictions that, among other things,
               16      preclude those brokerages from providing CoStar copyrighted photographs or other
               17      CoStar-owned content to platforms that compete with CoStar. Brokerages may, of
               18      course, provide their own photographs and information to such competing
               19      platforms.
               20                     3.      Technological Protection
               21                     In addition to protecting its intellectual property and other content
               22      through copyright registration and binding terms and conditions, CoStar takes
               23      proactive and prompt technological steps to protect against unauthorized access to
               24      CoStar’s services for competitive purposes.
               25

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                       5
               27        Indeed, in this very lawsuit, CREXi argues that the misconduct is normal and lawful, arguing
                       that “listing information . . . flows between . . . CRE platforms, which is perfectly legal.” The
               28      “flowing” occurs when CREXi employees access CoStar and LoopNet, accede to the terms of
                       use, nevertheless copy content without permission, and then upload it to CREXi’s rival site.
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                   1               First, CoStar services, including LoopNet, employ an abuse monitor.
                   2   If a single IP address views an excessive number of listings or executes an
                   3   excessive number of searches on the site—consistent with data or content mining
                   4   operations, automated bots, or other illegitimate users—that IP address is
                   5   temporarily blocked from accessing the site. On LoopNet, for example, if this
                   6   abuse monitor is tripped, the user immediately receives an unauthorized access
                   7   notice, also known as an “Error & Abuse” notice. The notice provides a
                   8   conspicuous hyperlink to LoopNet’s Terms and Conditions, and explains that use
                   9   of LoopNet is subject to such terms, and that use that does not comply with the
               10      terms is unauthorized:
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               21                  Second, CoStar’s services, including LoopNet, use firewall blocking,
               22      which enables CoStar to prevent certain IP addresses from accessing the content on
               23      CoStar’s websites. When this type of block is triggered, the user receives the
               24      following notice:
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               11                     CoStar services, including LoopNet, also employ third-party bot
               12      managers to identify and swiftly block bots, a type of automated software program,
               13      from accessing CoStar’s services.
               14                     Additionally, CoStar’s services, including LoopNet, employ a number
               15      of other third-party protections to guard against improper use, including firewalls
               16      and IP reputation blocking, as well as anti-virus and anti-malware programs.
               17                     CoStar employs these technical measures to help protect the
               18      information that it has spent significant time and resources to collect, curate, and
               19      generate from unscrupulous competitors—like CREXi—who seek to copy
               20      CoStar’s work and compete with CoStar without investing their own time and
               21      effort.
               22                C.   CREXi Has Grown at CoStar’s Expense By Free-Riding on
               23                     CoStar’s Investment and Misappropriating CoStar Content
               24                     CREXi’s business model is founded on adding large numbers of
               25      listings to its commercial real estate marketplace. CREXi recognizes that having a
               26      large supply of listings allows it to attract buyers, sellers, and brokers, which in
               27      turn facilitates its ability to sell advertisements, conduct successful auctions, and
               28      generate revenue. During a May 15, 2020 virtual marketing event called, “The
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                   1   Baltimore Market Report,” Paul Cohen, CREXi’s National Sales Director, boasted
                   2   that CREXi has “more listings in most markets across the USA” than CREXi’s
                   3   competitors, which include LoopNet. And during a June 19, 2020 virtual
                   4   marketing event called, “Welcome to CREXi: Richmond’s New CRE
                   5   Marketplace,” Mr. Cohen claimed that CREXi was the “place where all the listings
                   6   are.” That same day, during another virtual event, “Welcome to CREXi: Tampa’s
                   7   New CRE Marketplace,” Mr. Cohen stated, “We have all the listings for the
                   8   market—they’re already in there.”
                   9                CREXi’s purported meteoric rise to become the “place where all the
               10      listings are” on its face raises serious questions, given that it does not appear that
               11      CREXi has invested a fraction of the time or resources into developing its
               12      commercial real estate database that CoStar has. For instance, CREXi employs
               13      approximately 150 individuals and has stated that it has raised “just under 60
               14      million” dollars from investors. By contrast, CoStar currently employs over four
               15      thousand individuals and invests hundreds of millions of dollars annually just to
               16      maintain its listings database.
               17                   Yet from the very beginning, CREXi has misleadingly touted its
               18      ability to grow quickly and add listings using legitimate means, based on its own
               19      efforts. In a March 2016 public Q&A, Mr. DeGiorgio described how the previous
               20      month they “had 73 properties in the marketplace, and now we have over 350.” He
               21      surmised that CREXi was “proving out” that CREXi’s business offerings “really
               22      benefit[] the people on the site.” But all CREXi is proving is that it can grow
               23      exponentially fast by simply copying from a competitor, while at the same time,
               24      misleading its customers into believing that this growth is attributable to the
               25      quality of its products and services.
               26                   To this day, CREXI continues to mislead customers about its
               27      exponential growth. In a podcast interview on September 8, 2020, Eli Randel,
               28      CREXi’s Chief Strategy Officer (and former Director of Capital Markets at Cohen

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                   1   Financial), explained why CREXi needs to collect and publish real estate listings:
                   2   “[s]upply begets demand, and then the second half of that recipe or equation is that
                   3   demand begets monetization. So first and foremost, nobody wants to shop in an
                   4   empty store, so you better stock the shelves with supply.” CREXi’s desire to avoid
                   5   an “empty store” underscores why it must keep copying from CoStar. But CREXi
                   6   is misleading its customers as to how CREXi is stocking its shelves. In this same
                   7   podcast interview, Randel claimed that CREXi is doing so “by befriending our
                   8   customer, the broker,” giving listeners the (false) impression that CREXi is
                   9   growing through relationship-based, organic means, on the back of broker uploads,
               10      instead of widespread copying from CoStar.
               11                   CREXi touts both the current volume of its listings vis-à-vis its
               12      competitors and its ability to add thousands of new listings each week. For
               13      instance, in a May 4, 2020 podcast, Matthew Cors, CREXi’s Regional Director for
               14      the Western United States Sales Team, represented to listeners that CREXi had
               15      “over 100,000 for-sale properties” and “over 200,000 for-lease properties” active
               16      on the CREXi website on that day, and that CREXi is adding “thousands of
               17      properties a week on here on both sides of the marketplace.” Mr. Cors stated that
               18      CREXi’s “whole goal is to continue just building up the whole marketplace side of
               19      things.” What Mr. Cors failed to tell listeners is that CREXi is adding “thousands
               20      of properties a week” by, in significant part, copying from CoStar. In a separate
               21      podcast, Mr. DeGiorgio echoed these sentiments with the telling comment that by
               22      driving “the supply side,” i.e. adding large numbers of listings for free, CREXi
               23      would necessarily get the “demand for free too.” The listings are “free” however,
               24      not because brokers do not pay to list, but because it costs CREXi nothing to take
               25      them en masse from CoStar. By adding CoStar’s supply to its website without
               26      disclosing that fact to consumers, and misleading those same consumers regarding
               27      its business model and (lack of) prowess in the commercial real estate market,
               28      CREXi has illegitimately generated demand, resulting in lost revenues, lost market

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                   1   share and lost opportunities for competitors, like CoStar, who undertake the
                   2   expensive and labor-intensive task of building up the supply side lawfully.
                   3                In short, CREXi purports to have used a broker-driven business model
                   4   to become the “number one commercial marketplace in the country,” thereby
                   5   displacing LoopNet. But what CREXi omits from its marketing materials, videos,
                   6   and podcasts is that its purported expansion and rapid accretion of market share is
                   7   made possible not just by investing its own resources, but by repeatedly accessing
                   8   CoStar’s products and stealing CoStar’s content. Indeed, in the very promotional
                   9   videos in which CREXi brags that it has more listings than its competitors, CREXI
               10      displays CoStar-copyrighted photographs in the listings it touts. The screenshots
               11      below contain examples of the copyrighted photographs, along with an image of
               12      the CREXi presenter, Paul Cohen, in the top right corner of the first example:
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                   1                In other words, rather than making its own investments and competing
                   2   fairly (which CREXi is capable of doing), CREXi is displaying and thereby
                   3   infringing CoStar’s intellectual property to market itself to brokers and claim
                   4   superiority over CoStar. And in the process, CREXi is misleading customers as to
                   5   not only the way in which it is achieving that growth, but also its ability to convert
                   6   that growth into value for its customers. In a recent L.A. Business Journal article,
                   7   Mr. DeGiorgio proclaimed that CREXI wanted to “be able to offer a better free
                   8   version than you would pay for on other sites.” But what Mr. DeGiorgio omitted is
                   9   that it is far easier to offer a “free” service when you do not have to invest the
               10      hundreds of millions or billions of dollars it takes to generate and sustain that
               11      service. Consumers believe they are receiving a free, or lower cost, product
               12      because CREXi is somehow able to operate more efficiently, more precisely, or
               13      less expensively than their competition; in reality, CREXi can offer services or
               14      products for free because it has significantly reduced its costs by taking content
               15      that CoStar invested the time and money to gather, curate, and generate.
               16                   Copying and publishing content from CoStar benefits CREXi by
               17      making it easier for CREXi to reach a critical mass of listings and thereby attract
               18      buyers, sellers, and brokers to its free website. This enables CREXi to sell
               19      advertisements in competition with CoStar and “upsell” its customers to paid
               20      services such as CREXi “Pro”—which diverts revenue streams and growth
               21      opportunities from CoStar and reduces CoStar’s market share—all while avoiding
               22      the hard work and resources that CoStar has invested over the past three decades.
               23                   CREXi knows that listings—and real estate images specifically—are
               24      critical to attracting users. Indeed, as Eli Randel, CREXi’s Chief Strategy Officer,
               25      has admitted, “images matter.” This helps explain why CREXi is infringing on
               26      such a widespread scale. Rather than spend the time and effort to develop an
               27      image library on its own, CREXi steals CoStar’s photographs and uses them to
               28      attract buyers, sellers, and brokers. And in order to ensure that the buyers, sellers,

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                   1   and brokers attribute the high-quality images to CREXi’s efforts, CREXi goes so
                   2   far as to add its own watermark to some of those CoStar-copyrighted images.
                   3                Brokers and other industry participants also readily rely on companies
                   4   like CoStar and CREXi to provide “comps”—i.e., comparisons of similar
                   5   properties in order to determine, for example, the market rate for rent. The
                   6   provision of comps is a much sought-after and highly valued service in the world
                   7   of real estate. CREXi places this valuable service behind a password as part of its
                   8   subscription product. Based upon publicly available information, CoStar has
                   9   learned that CREXi is also using CoStar’s copyrighted images in its comps
               10      product. CREXi has not only piggybacked on CoStar to build out listings, but also
               11      to generate and sell comps.
               12                   CREXi’s misuse of CoStar products and misappropriation of CoStar
               13      intellectual property and content has also enabled CREXi’s auction platform to
               14      grow at the expense of, divert revenue from, and compete unfairly with Ten-X,
               15      now part of CoStar. By stealing content from CoStar, including CoStar’s
               16      copyrighted images, in order to attract potential buyers and other customers,
               17      CREXi is able to drive interest in its auctions and divert opportunities and income
               18      from one of its main rivals, Ten-X. CREXi thereby dilutes Ten-X’s market share
               19      through lost transaction opportunities and diminishes the value of Ten-X’s auction
               20      business.
               21            D.     CREXi Is Repeatedly Accessing and Repackaging CoStar’s
               22                   Content to Unfairly Compete With CoStar, in Violation of the
               23                   Terms of Use Associated with CoStar’s Services
               24                   Although the full breadth of CREXi’s unlawful misconduct cannot be
               25      known until discovery is complete, CoStar already has evidence that CREXi,
               26      through its authorized employees and agents, is repeatedly accessing CoStar
               27      services—in direct violation of the services’ respective terms of use and without
               28      ever receiving CoStar’s permission to do so—in order to access and steal vast

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                   1   quantities of copyrighted photographs and real estate information, for the purposes
                   2   of repackaging and integrating that same information into CREXi’s competing
                   3   platform, and in order to build out its broker directory and customer lead lists.
                   4                1.     CREXi Employees Unlawfully Access CoStar’s
                   5                       Subscription Database Using Log-In Credentials Issued to
                   6                       Other Companies in Order to Obtain Content to Compete
                   7                       Against CoStar
                   8                CREXi routinely hires its employees from CoStar’s customers. Some
                   9   CREXi employees, like Sam Hamlin, stop working for the CoStar customer, but
               10      take with them to CREXi, without permission, CoStar credentials issued under
               11      their ex-employer’s CoStar license, in order to perform their job duties on behalf of
               12      CREXi. In other instances, CREXi employees, like Ross Padfield, maintain their
               13      employment with the CoStar customer but use their employer’s CoStar login
               14      credentials to benefit CREXi, again without CoStar’s authorization.
               15                   Mr. Hamlin has been employed by CREXi as an account executive
               16      since June 2019. In November 2019, CoStar discovered that Mr. Hamlin was
               17      employed by CREXi and logging into CoStar’s subscription database on behalf of
               18      CREXi using credentials issued to Colliers International, his former employer and
               19      a current CoStar client. Mr. Hamlin had left Colliers months before, in May 2019.
               20                   Between June 2019, when he joined CREXi, and November 2019, Mr.
               21      Hamlin used Colliers credentials to conduct more than a hundred sessions on
               22      CoStar’s subscription database, logging tens of thousands of hits without
               23      authorization, including from CREXi IP addresses. Some of Mr. Hamlin’s logins
               24      were also from IP addresses used by one or more WeWork locations in New York
               25      City that were housing CREXi operations, further leading CoStar to conclude that
               26      Mr. Hamlin was working on behalf of CREXi and with CREXi’s authorization,
               27      while abusing Colliers’s CoStar license. Several of the property listings that Mr.
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                   1   Hamlin viewed in CoStar subsequently began to appear on CREXi’s website with
                   2   CoStar’s copyrighted photographs.
                   3                After discovering Mr. Hamlin’s misuse of Colliers’s license and
                   4   unauthorized access to the CoStar subscription database, CoStar terminated Mr.
                   5   Hamlin’s account on December 3, 2019. Later that day, Mr. Hamlin called CoStar
                   6   customer support, which informed him that he would need to speak with someone
                   7   in CoStar’s legal department. He declined. Instead, CoStar initiated several
                   8   attempts to contact Mr. Hamlin to discuss his account status. When CoStar finally
                   9   connected with Mr. Hamlin and inquired about the status of his employment with
               10      Colliers, Mr. Hamlin abruptly hung up.
               11                   Mr. Padfield, one of Mr. Hamlin’s colleagues, has worked as a
               12      CREXi account executive since February 2020. Mr. Padfield also simultaneously
               13      leads commercial brokerage efforts for Rubin [+] Morr at Douglas Elliman Real
               14      Estate. Between April and June 2020, Mr. Padfield exported 1,561 broker
               15      directory records from the CoStar subscription database using his Douglas Elliman
               16      account. As explained in Paragraph 72, before Mr. Padfield exported the data,
               17      CoStar reminded him that the exports were subject to CoStar’s Terms of Use.
               18      Prior to joining CREXi, Mr. Padfield had never exported these types of records.
               19      Nearly all of the broker contacts he exported are located in South Florida, the
               20      market he covers in his role at CREXi. Thus, it is clear that Mr. Padfield’s access
               21      and downloading of these records was as an agent for, on behalf of, and for the
               22      benefit of, CREXi.
               23                   Between October and November 2019, during and in the course of his
               24      employment with CREXi, Mr. Hamlin also exported thousands of CoStar broker
               25      directory records for brokers across the country while logged in using IP addresses
               26      affiliated with CREXi. As explained in Paragraph 72, before Mr. Hamlin exported
               27      the data, CoStar reminded him that exporting the data was subject to CoStar’s
               28      Terms of Use. Paul Cohen, CREXi’s National Sales Director, subsequently

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                   1   boasted in a CREXi marketing video that CREXi had “created a broker directory
                   2   with all brokers in America.” “Created” would appear to be a euphemism, but his
                   3   statement underscores that the access to and use of the CoStar database by CREXi
                   4   employees, and their entry into contracts (Terms of Use) with CoStar as part of that
                   5   process, was in their capacity as agents for CREXi, and that these actions were
                   6   undertaken with CREXi’s knowledge and for CREXi’s benefit.
                   7                     Mr. Hamlin and Mr. Padfield had actual notice of CoStar’s Terms of
                   8   Use when they made use of the CoStar database on behalf of CREXi, and agreed to
                   9   be bound by those terms on CREXi’s behalf. CoStar has reasonably concluded
               10      that each of these executives, currently employed by and using IP addresses
               11      associated with CREXi or WeWork locations that were housing CREXi operations,
               12      had authority to act on CREXi’s behalf. Both Mr. Hamlin and Mr. Padfield
               13      affirmatively accepted and assented to the Terms when gathering information for
               14      CREXi. As described in Paragraph 71, the Terms appeared in a pop-up window
               15      every 30 days, and Mr. Hamlin and Mr. Padfield were required to affirmatively
               16      assent to the Terms before they could continue using the product. CoStar’s records
               17      indicate that Mr. Hamlin last accepted the Terms on November 4, 2019, and Mr.
               18      Padfield accepted the Terms on September 20, 2020. Those Terms provide that
               19      any user of the service “shall not: . . . (2) [a]ccess or use any portion of the Product
               20      if you are a direct or indirect competitor of CoStar, nor shall you provide, disclose
               21      or transmit any portion of the Product to any direct or indirect competitor of
               22      CoStar . . . .”
               23                    As CREXi employees, working on behalf of CREXi, Mr. Hamlin and
               24      Mr. Padfield are both “direct or indirect competitor[s]” of CoStar. CREXi thus
               25      violated CoStar’s Terms of Use by accessing and using CoStar’s subscription
               26      database though these employees for its benefit. CoStar also never gave CREXi,
               27      Mr. Hamlin, or Mr. Padfield permission to utilize its services.
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                   1               Furthermore, CoStar’s Terms of Use clearly state that an “authorized
                   2   user” is an individual who is “employed by a CoStar Client.” Although both Mr.
                   3   Hamlin and Mr. Padfield may have been authorized users while working for
                   4   CoStar clients, they were both unauthorized when using CoStar in furtherance of
                   5   their CREXi work. CREXi, through these employees, directly violated CoStar’s
                   6   Terms of Use provisions relating to authorized users.
                   7               Mr. Hamlin’s wrongdoing was not limited to misusing his former
                   8   employer’s credentials and mass downloading CoStar records to unfairly compete.
                   9   Once Mr. Hamlin joined CREXi, he shared the Colliers CoStar credentials with at
               10      least one senior colleague, Zachary Zlotnick, who at the time was the head of
               11      CREXi’s New York office. In doing so, Mr. Hamlin separately violated the strict
               12      prohibition on sharing passcodes contained in CoStar’s Terms of Use.
               13                  2.     CREXi Repeatedly Accesses LoopNet Using Multiple IP
               14                         Addresses to Evade Anti-Piracy Efforts—Sometimes Using
               15                         Fake Identities or Through Foreign Subcontractors—for
               16                         Competitive Purposes
               17                  CREXi’s unauthorized access is not limited to CoStar’s subscription
               18      database. Rather, direct evidence shows that CREXi employees, acting as agents
               19      of CREXi, also repeatedly access and use CoStar’s LoopNet website, for CREXi’s
               20      benefit and on CREXi’s behalf, without ever receiving permission from CoStar to
               21      do so. IP addresses and user accounts affiliated with CREXi have impermissibly
               22      accessed LoopNet more than a million times (at least), which has benefitted
               23      CREXi by, among other things, providing CREXi with leads on property listings
               24      and brokers, and allowing CREXi to copy the listings from LoopNet.
               25                  For example, Paul Cohen, CREXi’s National Sales Director,
               26      immediately began accessing LoopNet after he joined CREXi. He did so using a
               27      variety of IP addresses routed through third-party services—such as Hurricane
               28      Electric, Digital Ocean, LeaseWeb, and the aptly named “IPVanish”—which

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                   1   anonymized his activity. Remarkably, just one month after joining CREXi, Mr.
                   2   Cohen had accessed LoopNet using at least eighty different IP addresses and had
                   3   already received more than ninety Error & Abuse notices from LoopNet blocking
                   4   his access and reminding him that his use of LoopNet was subject to LoopNet’s
                   5   Terms and Conditions. That initial activity set the course for Mr. Cohen’s covert
                   6   efforts to access LoopNet. During the entirety of his time at CREXi, he has
                   7   accessed LoopNet using (at least) more than two hundred different IP addresses,
                   8   most of which are associated with third party anonymizer services, including those
                   9   reportedly associated with high levels of unlawful activity. Mr. Cohen knew this
               10      access—done for purposes of unlawful copying of LoopNet’s data—was illicit.
               11      Indeed, in a May 2020 marketing video, Cohen publicly represented that he does
               12      not “log into the other sites.” CoStar’s server records indicate otherwise.
               13                   CREXi employees also access LoopNet using IP addresses registered
               14      specifically to CREXi. Just one such IP address, 76.81.37.146 (the “76. IP
               15      address”), accessed LoopNet in stunningly high volume. After the 76. IP address
               16      first tripped the LoopNet abuse monitor, it was temporarily blocked from accessing
               17      LoopNet, and CoStar displayed the Error & Abuse notice described above. The
               18      notice provides a hyperlink to LoopNet’s Terms and Conditions and warns the user
               19      that use that does not comply with the terms of use is unauthorized. Despite this
               20      warning, CREXi continued to access LoopNet. Indeed, from January 1, 2019,
               21      through November 13, 2019, the 76. IP address registered hundreds of thousands
               22      of hits on LoopNet.
               23                   On November 14, 2019, upon learning of this continued and repeated
               24      access, CoStar implemented a permanent LoopNet abuse monitor block on the 76.
               25      IP address, which again displayed the Error & Abuse notice.
               26                   CREXi, yet again, was undeterred. On November 14, 2019—the very
               27      same day that CoStar implemented the abuse monitor block on the 76. IP
               28      address—CREXi switched to using a variety of third-party IP addresses from

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                   1   LeaseWeb, one of the IP address anonymizers utilized by Mr. Cohen. In the first
                   2   month after CoStar implemented the block, CREXi logged hundreds of hits on the
                   3   LoopNet website using the LeaseWeb IP addresses, despite knowing that such
                   4   access was prohibited. This tactic to circumvent blocking, known as “rotating” IP
                   5   addresses, is a hallmark of online piracy. Xceligent, for example, also rotated IP
                   6   addresses as part of its unlawful scheme to harvest real estate listings and
                   7   copyrighted images from CoStar.
                   8                Meanwhile, CREXi continued periodically to test LoopNet’s defenses
                   9   by attempting to access LoopNet using the blocked 76. IP address. Indeed, after
               10      CoStar implemented the permanent LoopNet abuse monitor block on November
               11      14, 2019, the 76. IP address triggered the Error & Abuse notice almost one
               12      thousand more times. On December 16, 2019, CoStar implemented a permanent
               13      firewall block on CREXi’s 76. IP address, which implements a wider block of
               14      CoStar’s services. This block generates an “Access Denied” message, as shown
               15      above at Paragraph 96. The .76 address triggered four hundred such “Access
               16      Denied” notices.
               17                   In response, CREXi simply stepped up its circumvention efforts.
               18      After CoStar had permanently blocked CREXi’s 76. IP address at the firewall
               19      level, CREXi registered a new IP address, and continued accessing LoopNet
               20      without authorization. This new address, 45.59.255.42 (the “45. IP address”), was
               21      registered to CREXi’s headquarters at 4086 Del Rey Avenue, Marina Del Rey,
               22      California. Between March 11 and August 12, 2020, the 45. IP address
               23      accumulated over one hundred thousand hits to LoopNet alone.
               24                   The more than one million hits—at least—on LoopNet from CREXi
               25      IP addresses is just one of the indicia of CREXi’s misuse of LoopNet and
               26      harvesting of LoopNet content. In addition, several CREXi employees have
               27      registered for LoopNet accounts using thinly-veiled pseudonyms or personal email
               28      addresses. Those CREXi employees accessed LoopNet on behalf of CREXi on a

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                   1   regular basis, including, not coincidentally, prior to those same employees
                   2   participating in public marketing videos for CREXi in which they brag about the
                   3   extent of CREXi’s efforts to “build out” certain geographical markets. This pattern
                   4   confirms that the LoopNet access was in their capacity as agents for CREXi, and
                   5   that CREXi was aware of and/or ratified their acts.
                   6                  For instance, CREXi’s mid-Atlantic account executive, Michael
                   7   Rosenfeld, repeatedly visited LoopNet in June 2020 under the account name “Mike
                   8   Rose” with the personal email address “rosenfeldm911@gmail.com.” He used the
                   9   LoopNet website for competitive purposes, specifically to identify real estate
               10      listings in the mid-Atlantic area. On June 19, 2020, Mr. Rosenfeld appeared in
               11      marketing videos focused on markets in that area, specifically Baltimore and
               12      Richmond. In the Richmond presentation, Mr. Rosenfeld explained that CREXi’s
               13      “Paul [Cohen], I, and a few others are building out the East Coast for CREXi.”
               14                     Unsurprisingly, therefore, Mr. Cohen also has and uses a LoopNet
               15      account registered to a non-CREXi email address: pcohen@cohenfinancial.com.
               16      Cohen Financial is a real estate capital services company whose leadership team
               17      includes Brent Hansen, a former executive at Xceligent who was instrumental in
               18      Xceligent’s scheme to steal intellectual property from CoStar.6
               19                     Cohen’s current relationship with Cohen Financial is unclear, but in
               20      recent months he has been using his pcohen@cohenfinancial.com LoopNet
               21      account as part of his work for CREXi. For example, Mr. Cohen accessed
               22      LoopNet on multiple occasions in late May 2020 to run searches for “for-sale”
               23      properties in Florida, North Carolina, and Ohio. Shortly thereafter, in June 2020,
               24      Mr. Cohen appeared in several CREXi promotional videos boasting about
               25
                       6
                         According to a lawsuit filed by Xceligent’s bankruptcy trustee, Hansen, who was Xceligent’s
               26      Vice President of Marketing Research, “instruct[ed] Xceligent employees to use TOR browsers
                       (which anonymize an Internet user) as part of the ‘game plan to get Xceligent’s [IP] address
               27      hidden in order that the [marketing researchers] can update listings’ when rival Costar’s website
                       ‘LoopNet blocked them.’“ Similarly, according to the Xceligent trustee, Hansen allegedly
               28      “worked directly with Xceligent’s IT department to set up a VPN for [Xceligent’s offshore]
                       marketing researchers to use to circumvent CoStar’s security and access CoStar websites.”
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                   1   CREXi’s coverage in the same three states. The Florida marketing video,
                   2   described in Paragraph 105 above, contained multiple CoStar-copyrighted images.
                   3                 Similar to Rosenfeld and Cohen, CREXi’s Sam Hamlin created a
                   4   LoopNet account registered to “Sam H” with the personal email address
                   5   sdhamlin08@yahoo.com.7 He did so on June 27, 2019, immediately after he began
                   6   working at CREXi. Like Mr. Rosenfeld and Mr. Cohen, Mr. Hamlin has used this
                   7   account to access LoopNet listings. Despite the use of personal email addresses,
                   8   CoStar has reasonably concluded that Rosenfeld, Cohen, and Hamlin (and the
                   9   other CREXi employees who tried to mask their identities, described herein) were
               10      acting within the scope of their authority as agents of CREXi, and for the benefit of
               11      CREXi. Indeed, many of these individuals were senior executives at CREXi and
               12      spoke publicly on CREXi’s behalf in several of the marketing videos described
               13      herein.
               14                    As well as registering LoopNet accounts to non-CREXi email
               15      addresses, CREXi employees also use fake identities to mask their work on behalf
               16      of CREXi. For example, Nick Hanna, CREXi’s senior product manager, signed up
               17      for two LoopNet accounts under false names. One account is registered to “Hank
               18      Mardukous” at hankmardukus@gmail.com. The other is registered to “Hank
               19      Mardukus” at itsnotnick08@aol.com. Hank Mardukas is a fictional character from
               20      the 2009 movie, “I Love You, Man.” As another example, Mr. Zlotnick, the
               21      former head of CREXi’s New York office, registered a LoopNet account under the
               22      name “Michael Korenthough” at zackdz11@gmail.com.
               23                    One of the many ways in which CREXi executives use LoopNet for
               24      competitive purposes is to set up “saved searches” for property listings. This
               25      enables CREXi to use LoopNet to identify new property listings as they come on
               26      the market, rather than spending time and money conducting their own research.
               27
                       7
               28        Other CREXi employees to register for LoopNet accounts using personal email addresses
                       include Courtney Gaylord, who registered using cgaylord11@yahoo.com.
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                   1   LoopNet allows users to save property search criteria, and new property listings
                   2   that match the saved criteria automatically appear whenever the user logs into
                   3   LoopNet. Users can also opt to receive email notifications whenever LoopNet has
                   4   new listings that fit the saved search criteria. However, at no point did CoStar give
                   5   any CREXi employee permission to utilize these services for competitive purposes.
                   6                For example, Mr. Rosenfeld (a.k.a. “Mike Rose”), the CREXi account
                   7   executive for the mid-Atlantic region, has created a variety of saved searches for
                   8   properties in the mid-Atlantic states of Delaware, Maryland, Virginia, and the
                   9   District of Columbia. He receives instant email notifications to his personal gmail
               10      account whenever new property listings matching his search criteria appear on
               11      LoopNet.
               12                   Likewise, Mr. Cohen has created several saved searches on LoopNet,
               13      including properties for sale and for lease in Florida and Georgia. Mr. Cohen also
               14      created a saved search for industrial properties for lease in all states, and he
               15      receives instant notifications to his pcohen@cohenfinancial.com email address
               16      whenever new property listings matching the search criteria are added to LoopNet.
               17                   Similarly, Mr. Hamlin has created saved searches for LoopNet
               18      property listings across the northeast United States, including Connecticut, Maine,
               19      New Hampshire, New Jersey, Rhode Island, and Vermont, consistent with
               20      CREXi’s national expansion efforts.
               21                   The use of LoopNet to compete against LoopNet is not confined to
               22      CREXi senior managers and employees. CREXi also accesses LoopNet through
               23      an Indian BPO, or business process outsourcing, contractor called Arcgate.
               24      Arcgate describes its services as “data collection & cleansing [and] data
               25      enrichment.” Arcgate employees apparently specialize in “Data Mining & Data
               26      Analysis” and data “cleaning.” CoStar has identified at least ten Arcgate
               27      employees associated with CREXi.
               28

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                   1                 CREXi’s use of an Indian contractor that accesses LoopNet and
                   2   “collect[s]” and “clean[s]” data is reminiscent of Xceligent’s mass piracy scheme.
                   3   In CoStar’s lawsuit against Xceligent, discovery revealed that Xceligent used an
                   4   Indian BPO to access LoopNet and copy content, while trying to hide the
                   5   wrongdoing.
                   6                 CREXi’s LoopNet access is repeated and widespread. Indeed, it is
                   7   consistent with automated scraping emanating from both India and the United
                   8   States. Just since the end of 2019, IP addresses affiliated with CREXi’s main
                   9   office in California, CREXi’s temporary space at WeWork locations in New York
               10      and Miami, and CREXi’s subcontractor in India, have triggered thousands upon
               11      thousands of “bot warnings” from a third-party security application that monitors
               12      activity on CoStar sites, including LoopNet. These warnings are indicative of
               13      systematic access to LoopNet to harvest content en masse.
               14                    3.    CREXi’s LoopNet Access And Use Violates LoopNet’s
               15                          Terms and Conditions
               16                    CREXi is prohibited from repeatedly accessing and using LoopNet to
               17      compete. That is plain from the industry-standard LoopNet Terms and Conditions.
               18      The type of widespread competitive LoopNet access in which CREXi has engaged
               19      has also been permanently enjoined by multiple federal courts, including in
               20      CoStar’s cases against Xceligent in Kansas City and RE Back Office in Pittsburgh.
               21      And, moreover, this kind of misconduct strikes at the heart of the competition that
               22      is central to the commercial real estate information market functioning properly,
               23      both for brokers and customers.
               24                    By accessing LoopNet more than a million times and using the
               25      website for competitive purposes despite this bar, CREXi was simultaneously
               26      entering into and violating a binding contract with CoStar.
               27                    CREXi had actual notice that use of LoopNet was subject to
               28      LoopNet’s Terms and Conditions because CREXi, through its agents and

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                   1   employees acting within the scope of their authority, accessed LoopNet’s Terms
                   2   and Conditions, which specifically prohibit competitive access. CREXi was also
                   3   on notice that use of LoopNet was subject to LoopNet’s Terms and Conditions
                   4   because IP addresses and user accounts affiliated with CREXi have triggered
                   5   thousands of Error & Abuse notices that contain a conspicuous hyperlink to
                   6   LoopNet’s Terms and Conditions and warn that use of LoopNet that does not
                   7   comply with the terms is prohibited. There is no doubt whatsoever that CREXi
                   8   and its senior management are on notice of their repeated contractual breaches.
                   9   Indeed, CoStar has served Mr. Cohen, CREXi’s National Sales Director, an Error
               10      & Abuse notice with the hyperlink to LoopNet’s Terms and Conditions no fewer
               11      than 94 times.
               12                   In addition to violating CoStar’s contractual prohibition on competitor
               13      access, when CREXi routinely accessed and used LoopNet, it falsely warranted
               14      that it was not a competitor of CoStar.
               15                   Nor is CREXi permitted to access LoopNet through Arcgate, its
               16      Indian contractor. LoopNet’s Terms and Conditions expressly prohibit access by
               17      competitors like CREXi, as well as “any company . . . acting on behalf of a
               18      competitor of LoopNet . . . .”
               19                   4.    CREXi Steals Copyrighted Photographs from CoStar and
               20                         Publishes Them on Its Competing Website
               21                   CREXi’s wrongdoing is not limited to covertly accessing CoStar’s
               22      services using passwords issued to other companies, or setting up saved searches
               23      on LoopNet under fake names in lieu of conducting research, or downloading
               24      CoStar’s broker directory information to create customer lead lists and a cloned
               25      directory product, or hand selecting and copying a few CoStar photographs to
               26      improve its marketing presentations. Rather, CREXi is infringing CoStar’s
               27      copyrighted photographs on a massive scale. A preliminary review has revealed
               28

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                   1                As described in more detail below, CREXi routinely accessed the
                   2   copyrighted photographs on LoopNet only a few days before the infringing
                   3   photographs appeared—without watermarks—on CREXi’s website.
                   4                CoStar’s watermarks on its copyrighted photographs undoubtedly
                   5   served as a red flag that put CREXi on notice that these images belonged to
                   6   CoStar. The removal or alteration of CoStar’s watermark conceals CREXi’s
                   7   infringement of CoStar’s copyrighted images. Indeed, CoStar has used the
                   8   presence of the watermark to identify infringement in prior lawsuits, such as the
                   9   Xceligent litigation. CREXi must also have been aware, simply as a matter of
               10      common sense, that removing the watermark would enable, facilitate, and indeed
               11      induce the infringement of CoStar’s copyrighted materials because it was
               12      publishing sought-after copyrighted photographs to the world with the indicia of
               13      copyright removed.
               14                   The extent and consistency of the cropping demonstrates that CREXi
               15      is responsible for this deliberate attempt to hide its infringement.
               16                   5.     CREXi Copies Real Estate Listings from LoopNet and Posts
               17                          Them on CREXi.com without Authorization and without
               18                          Broker Knowledge
               19                   CREXi has admitted that it is not allowed to copy listings from
               20      LoopNet. But that is exactly what it does, often without contacting the relevant
               21      broker. And even when it does contact the listing broker, CREXi is careful not to
               22      discuss copying from LoopNet, other than to acknowledge its impermissibility.
               23                    Recently, CoStar was contacted by bewildered brokers, asking
               24      whether CoStar was in business with CREXi because the brokers’ listings—
               25      including CoStar’s copyrighted materials—were appearing without the brokers’
               26      authorization on CREXi’s site.
               27                   For example, one brokerage alerted CoStar after noticing that one of
               28      its Florida property listings appeared on CREXi with CoStar’s images. The broker

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                   1   purchase of a property that had already sold. When she questioned a caller, it
                   2   turned out that the property was listed for sale on CREXi. The owner-
                   3   representative tracked down the listing broker featured on CREXi. The broker was
                   4   unaware that the listing was even on CREXi, and said that he had certainly not
                   5   posted it.
                   6                This pattern repeated across the country. In Arkansas, a brokerage
                   7   received multiple calls about a property that had already sold. One of the callers
                   8   revealed that the property was listed as for sale on CREXi. As in the New York
                   9   example above, the brokerage had not added the listing to CREXi and was
               10      unaware that the listing was even on CREXi. The brokerage contacted CoStar
               11      asking if CREXi was a CoStar subsidiary and if CoStar would remove the listing.
               12      The upshot: CREXi obtains and posts listings without broker involvement, and
               13      causes confusion for buyers, sellers, and brokers.
               14                   In some instances, CREXi did at least contact the listing broker and
               15      offer to place the listing on CREXi free of charge. But CREXi was deliberately
               16      vague regarding how CREXi planned to obtain the listing and did not disclose that
               17      it intended to copy from LoopNet. For example, a CREXi representative, Nick
               18      DeGiorgio—CEO Michael DeGiorgio’s cousin—contacted a marketing manager at
               19      a brokerage and offered to post one of the brokerage’s property listings in
               20      Maryland. The brokerage accepted, but was not asked to provide, and did not
               21      provide, CREXi with any information, photographs, or marketing material for the
               22      property. Neither did the brokerage upload any CoStar images to CREXi.
               23      Nevertheless, CREXi posted the listing on its website.
               24                   Subsequently, CREXi’s Mr. Rosenfeld called the marketing manager
               25      and tried to sell him a subscription to CREXi’s platform. The manager asked Mr.
               26      Rosenfeld where CREXi had obtained the marketing material that it used to list the
               27      property on its website, since the brokerage never provided CREXi with any such
               28      material. Mr. Rosenfeld replied vaguely that CREXi had various partnerships with

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                   1   companies that allowed CREXi to get the information. When the manager asked
                   2   which companies, Mr. Rosenfeld would not provide that information.
                   3                The marketing manager then contacted Mr. Rosenfeld again, asking
                   4   whether CREXi had a partnership with CoStar, because the CREXi listing
                   5   contained exactly the same information as the brokerage’s listing on LoopNet. Mr.
                   6   Rosenfeld admitted that CREXi did not have a partnership with CoStar. He stated
                   7   that once CREXi received the brokerage’s permission to post their listing, CREXi
                   8   copied the information “off the internet.”
                   9                The manager notified CoStar of Mr. Rosenfeld’s suspicious
               10      statements and provided a side-by-side comparison of photographs from the
               11      CoStar and CREXi listings. As the manager pointed out, the photograph that
               12      CREXi posted exactly matches CoStar’s copyrighted photograph, with the
               13      exception that CoStar’s watermark had been fully cropped out of the lower right-
               14      hand portion of the photograph. The side-by-side comparison that the manager
               15      sent to CoStar appears below:
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               25                   These photographs make clear that when Mr. Rosenfeld told the
               26      manager that CREXi pulled the listing “off the internet,” he really meant that
               27      CREXi copied the listing—including the copyrighted photograph—from LoopNet,
               28      even though CREXi was not authorized to do so. (Of course, had CREXi’s

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                   1                As can be seen, there is no question that even when it is not simply
                   2   copying and pasting from LoopNet without broker involvement, CREXi routinely
                   3   posts listings, rather than simply being a passive forum for uploads, when it makes
                   4   contact with brokers. Indeed, CREXi trumpets the fact that it is actively involved
                   5   in creating the listings on its site. Eli Randel, CREXi’s Chief Strategy Officer,
                   6   explained during a webinar that CREXi users can send property information to
                   7   CREXi, and CREXI will “build your listings for you.” And during a June 19, 2020
                   8   video conference titled, “Welcome to CREXi: Richmond’s New CRE
                   9   Marketplace,” CREXi’s Paul Cohen stated to his broker audience: “If we don’t
               10      have your listings on CREXi, send them to us today, and we’ll add them.”
               11                   Given CREXi’s active role in “build[ing]” or “add[ing]” listings, it is
               12      unsurprising there are CREXi listings that display CoStar-copyrighted photographs
               13      that do not appear anywhere in the listing broker’s marketing materials. There
               14      would be no reason for brokers to upload their CoStar-copyrighted photographs to
               15      CREXi—an action that CoStar prohibits—while excluding those photographs from
               16      their own marketing materials—a use that CoStar permits. The obvious
               17      explanation (and the one consistent with CREXi’s offers to build listings on behalf
               18      of brokers) is that CREXi itself is taking the CoStar-copyrighted photographs
               19      directly from LoopNet—not from the broker’s marketing materials—and adding
               20      those copyrighted photographs to CREXi.
               21                   For example, a cropped version of the CoStar-copyrighted photograph
               22      of the commercial property shown below appears on CREXi. However, the
               23      broker’s marketing brochure contains different, non-CoStar copyrighted
               24      photographs, indicating that CREXi took this image directly from CoStar.
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                   1   as they are not CoStar or LoopNet branded.” But time and again, as the above
                   2   examples indicate, CREXi nevertheless did copy CoStar’s copyrighted
                   3   photographs and real estate information from LoopNet, despite knowing that it was
                   4   not permitted to do so.
                   5                 CREXi knowingly and willfully infringed on CoStar’s copyrights to
                   6   build out its own business and compete unfairly with CoStar.
                   7                 6.      CREXi Knows Full Well That CoStar Does Not Permit
                   8                         Competitors to Copy Content from Its Website
                   9                 Even putting aside CREXi’s conversations with brokers described
               10      above, including the acknowledged prohibition on copying from LoopNet, there
               11      can be no doubt that CREXi is aware that CoStar does not permit competitors to
               12      use its websites or subscription database, or to infringe its copyrighted
               13      photographs, and that CoStar protects and vindicates its intellectual property and
               14      contractual rights though many methods, including—when the copying is on a
               15      huge scale and clearly deliberate—litigation.
               16                    The trade and national press have extensively covered CoStar’s prior
               17      lawsuits against infringers and content thieves, such as Xceligent, Apartment
               18      Hunters, and RealMassive, and against those who access its databases without
               19      authorization, or enable others to do so.8 CoStar has litigated across the country,
               20      from New Jersey to Kansas City, from Austin to Los Angeles, to protect its
               21      intellectual property, and has obtained judgments and injunctions that value its
               22      copyrighted images and real estate listings most recently at $50,000 per
               23      photograph, and $50,000 per real estate listing.
               24
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                         See e.g., CoStar Takes Off the Gloves in Battle Against Xceligent Over Alleged Data Theft
               25      (available at https://www.wsj.com/articles/costar-takes-off-the-gloves-in-battle-against-
                       xceligent-over-alleged-data-theft-1513080000); Real Estate Data Dispute Yields $500 Million
               26      Judgment (available at https://finance-commerce.com/2020/01/real-estate-data-dispute-yields-
                       500-million-judgment/); Apartment Hunters Found Liable in CoStar Copyright Infringement
               27      Dispute (available at https://therealdeal.com/la/2017/03/29/apartmenthunterz-com-found-liable-
                       in-costar-copyright-infringement-dispute/); CoStar Starts Going After Password-Sharing Users
               28      in Latest Legal Blitz (available at https://www.bisnow.com/national/news/technology/costar-
                       starts-going-after-password-sharing-users-in-latest-legal-blitz-93586).
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                   1                CREXi is well aware of CoStar’s judgments protecting its intellectual
                   2   property and contractual rights, including the record-breaking half billion dollar
                   3   judgment against Xceligent based on harvesting content from LoopNet. Indeed,
                   4   CREXi replaced Xceligent as the National Association of Realtors (“NAR”)
                   5   commercial technology partner following Xceligent’s highly publicized
                   6   bankruptcy during that case.
                   7                Xceligent’s wrongdoing was acknowledged and condemned by
                   8   multiple bodies. In addition to the federal judgment and injunction against
                   9   Xceligent itself in its home town of Kansas City, Xceligent’s contractor in
               10      Pittsburgh was likewise enjoined and consented to entry of judgment after
               11      admitting its involvement in the unauthorized copying of content from LoopNet, a
               12      related contractor was enjoined in India on the same basis, and the directors and
               13      officers of a third contractor in the Philippines were indicted for accessing
               14      LoopNet without authorization and copying listings. In addition, after an extensive
               15      audit, an FTC-appointed monitor concluded that the tens of thousands of CoStar
               16      photographs in Xceligent’s systems, which the court cases had shown were copied
               17      from LoopNet, had been “derived improperly by Xceligent” from CoStar’s
               18      systems.
               19                   Nevertheless, CREXi has engaged in the very same illegal behavior as
               20      Xceligent: appropriating thousands of images and listings from LoopNet, free-
               21      riding on CoStar’s investment in order to build a competing service, and accessing
               22      CoStar’s services without authorization.
               23                   CREXi is, or should be, aware that federal courts around the country
               24      have issued injunctions barring competitors from merely accessing LoopNet,
               25      CoStar’s website. For example, the Western District of Missouri permanently
               26      enjoined Xceligent from “accessing CoStar Websites or CoStar Databases for the
               27      purposes of competitive use, including without limitation for the purposes of
               28      copying CoStar Data, verifying broker-sourced data using CoStar Data, or

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                   1   generating leads from CoStar Data.” Judgment and Permanent Injunction, CoStar
                   2   Group Inc. v. Xceligent, Case 4:16-cv-01288-FJG (W.D. Mo. Dec. 3, 2019) (ECF
                   3   No. 204).
                   4                This Court required another CoStar competitor, Apartment Hunters,
                   5   specifically to “abide by the terms of use applicable to . . . LoopNet.com” which,
                   6   as explained above, expressly prohibit competitor access. Judgment at 5, CoStar
                   7   Realty Information, Inc, v. Apartment Hunters, Inc., Case No. 8:15-cv-02111-JLS-
                   8   KES (C.D. Cal. Mar. 27, 2017) (ECF No. 62). CREXi, undeterred, has accessed
                   9   LoopNet at least more than a million times.
               10                   Similarly, federal courts have vindicated CoStar’s right to prohibit
               11      unauthorized persons from accessing its subscription service or facilitating such
               12      unauthorized access. For example, the District of New Jersey permanently
               13      enjoined a brokerage from “sharing any username, password, passcode or other
               14      access credential for any CoStar Database with any individual or entity that is not
               15      authorized by CoStar to utilize such username.” Amended Judgment and
               16      Permanent Injunction, CoStar Group Inc. v. SandBox Real Estate and
               17      Development LLC, No. 2:18-cv-14611-JLL-SCM (D. N.J. Jan. 1, 2019) (ECF No.
               18      13). CREXi employees, nevertheless, used credentials issued to other companies
               19      in order to access CoStar’s subscription service on a widespread basis, collect data,
               20      and use them to compete against CoStar.
               21            E.     CREXi’s Illegal Behavior Is Consistent with Its Prior Willful
               22                   Misconduct
               23                   This is not the first time that CREXi has improperly profited from
               24      another company’s investment and intellectual property. Indeed, CREXi sought to
               25      establish itself based on content misappropriated from Ten-X, now part of CoStar.
               26                   CREXi’s co-founder and CEO, Michael DeGiorgio, and co-founder
               27      Luke Morris previously worked for Ten-X and were engaged in a scheme to
               28      misappropriate highly-confidential trade-secret customer lists from Ten-X to

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                   1   launch CREXi. Ten-X uncovered the theft and brought suit against CREXi and
                   2   Mr. DeGiorgio, immediately securing a preliminary injunction. In the course of
                   3   litigation, CREXi admitted that that it used Ten-X customer reports to create a
                   4   master list of customer contacts, and used the master customer list to market its
                   5   website and services.
                   6                The California state court that entered the preliminary injunction
                   7   against CREXi found that Ten-X was highly likely to succeed on the merits of its
                   8   claims for misappropriation of trade secrets, breach of the duty of loyalty, breach
                   9   of a proprietary information and inventions agreement, and breach of a
               10      confidentiality agreement. The court barred the operation of CREXi to the extent
               11      it operated online real estate auctions, and prohibited CREXi’s use of Ten-X’s
               12      customer lists and all documents and information derived therefrom. The court
               13      also ordered that the misappropriated materials be returned or purged.
               14                   Seeing the writing on the wall, CREXi paid $1.6 million in damages,
               15      issued a public apology, and—according to a press release issued by CREXi—
               16      agreed to certain ongoing restrictions, including a prohibition on any further use of
               17      the misappropriated information. In a public statement, Michael DeGiorgio
               18      “apologize[d] to Ten-X for the actions which led to this lawsuit” and stated, “I
               19      regret my conduct at the time I departed Ten-X.”
               20                   Despite the payment and (hollow) apology, CREXi and Mr.
               21      DeGiorgio have picked up where they left off. In an article published by the LA
               22      Business Journal on July 20, 2020, Mr. DeGiorgio claimed that CREXi could
               23      overtake CoStar Group as the “go-to” source for information in the commercial
               24      real estate sector, insisting that CREXi wants to “offer a better product, more
               25      accurate data, more usable data.” But in fact, CREXi is trying to clone CoStar’s
               26      service, using content stolen from CoStar, while publicly boasting that it can do
               27      “better.” In its quest to take market share from and “overtake” CoStar, CREXi
               28      continues to engage in unlawful and unfair business practices, including accessing

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                   1   CoStar’s services without authorization and misappropriating CoStar’s copyrighted
                   2   photographs and real estate data.
                   3                Ironically, Ten-X, CREXi’s initial victim, is now part of the CoStar
                   4   Group. CoStar must defend itself from the recidivism of CREXi, Mr. DeGiorgio,
                   5   and other CREXi executives, and safeguard CoStar’s decades of innovation,
                   6   investment, and hard work.
                   7                             FIRST CLAIM FOR RELIEF
                   8                                 Copyright Infringement
                   9                CoStar repeats and realleges each and every allegation set forth above,
               10      and incorporates them herein by reference.
               11                   Each of CoStar’s photographs constitutes an original work of
               12      authorship and copyrightable subject matter under the laws of the United States.
               13                   CoStar owns or has exclusive rights to all rights, title, and interest in
               14      and to the photographs.
               15                   CREXi had and has access to CoStar photographs through the internet
               16      or other means.
               17                   CREXi has copied, reproduced, distributed to the public, and/or
               18      displayed publicly on crexi.com CoStar’s copyrighted photographs—including
               19      without limitation those copyrighted works identified in Exhibit C hereto—
               20      without the consent or authority of CoStar, thereby infringing CoStar’s copyrights.
               21                   Further, CREXi has created derivative works based on CoStar’s
               22      copyrighted images by cropping and manipulating CoStar’s registered images.
               23      Examples appear on Exhibit C. CREXi has gone as far as to add its own
               24      watermark to some of the cropped CoStar-registered images in order to re-brand
               25      them as their own. Examples appear at Paragraphs 39-40, supra.
               26                   CoStar owns the exclusive rights in each of the photographs detailed
               27      in Exhibit C. Prior to the filing of this suit, CoStar has validly registered each of
               28      the photographs detailed in Exhibit C with the United States Copyright Office.

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                   1   CREXi copied, reproduced, distributed, and publicly displayed on CREXi’s
                   2   website without authorization each of the copyrighted photographs detailed in
                   3   Exhibit C.
                   4                  Upon information and belief, CREXi’s unlawful copying,
                   5   reproducing, distributing, and public displaying of these CoStar photographs
                   6   occurred on or around April 21 to July 30, 2020, as set forth in Exhibit D. On
                   7   information and belief, a valid registration was obtained by CoStar for each
                   8   photograph detailed in Exhibit C prior to CREXi’s first infringement of the
                   9   photograph.
               10                     CREXi’s copies, reproductions, distributions, and displays are
               11      identical and/or substantially similar to CoStar’s photographs. Further, CoStar,
               12      which owns an exclusive right to prepare derivative works of its copyrighted
               13      images, did not give CREXi permission to create any derivative works.
               14                     CREXi is directly liable for these acts of infringement in violation of
               15      17 U.S.C. §§ 106 and 501.
               16                     The infringement of CoStar’s rights in each of its copyrighted
               17      photographs constitutes a separate and distinct act of infringement.
               18                     CREXi’s acts of infringement have been willful, intentional,
               19      purposeful, and in disregard of CoStar’s rights under the Copyright Act. CREXi
               20      knew its acts were infringing and intentionally or recklessly disregarded the law by
               21      its conduct.
               22                     CoStar did not authorize CREXi’s acts.
               23                     CoStar believes that additional instances of CREXi’s infringement of
               24      its copyrighted photographs will be revealed during the discovery process.
               25                     As a result of CREXi’s willful copyright infringement, CoStar has
               26      been and will continue to be damaged as a direct and proximate result of the
               27      infringing acts set forth above, and CREXi has profited and will continue to profit
               28

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                   1   as a result of its unlawful infringement of CoStar’s copyrighted photographs in an
                   2   amount to be proven at trial.
                   3                CREXi’s conduct also has caused irreparable and incalculable harm
                   4   and injuries to CoStar and is ongoing. Unless enjoined, CREXi’s conduct will
                   5   cause further irreparable and incalculable injury, for which CoStar has no adequate
                   6   remedy at law.
                   7                           SECOND CLAIM FOR RELIEF
                   8            Violation of the Digital Millennium Copyright Act (“DMCA”)
                   9     Removal of Copyright Management Information, 17 U.S.C. §§ 1202(b)(1)
               10                   CoStar repeats and realleges each and every allegation set forth above,
               11      and incorporates them herein by reference.
               12                   With respect to the more than ten thousand copyrighted CoStar
               13      images referenced above having been found on CREXi, and additional CoStar
               14      copyrighted photographs infringed by CREXi to be identified in the course of
               15      discovery, CoStar’s watermark constitutes copyright management information
               16      (“CMI”), as it identifies CoStar as the copyright owner of such photographs.
               17                   In many such photographs, including several specifically identified
               18      above as examples, CREXi intentionally and systematically cropped out CoStar’s
               19      watermark from CoStar-copyrighted photographs.
               20                   CREXi removed CoStar’s CMI while knowing, having reasonable
               21      grounds to know, and with the intent that it would induce, enable, facilitate, and/or
               22      conceal infringement of CoStar’s copyrights, in violation of 17 U.S.C. § 1202(b).
               23                   CoStar has suffered damage and loss as a result of these violations.
               24                   CoStar has suffered and will continue to suffer irreparable harm as a
               25      result of CREXi’s continued removal of CoStar CMI on CoStar-copyrighted
               26      photographs, and, as such, CoStar has no adequate remedy at law.
               27                               THIRD CLAIM FOR RELIEF
               28               Violation of the Digital Millennium Copyright Act (“DMCA”)

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                   1      Distribution of Works with Removed or Altered Copyright Management
                   2                          Information, 17 U.S.C. §§ 1202(b)(3)
                   3                 CoStar repeats and realleges each and every allegation set forth above,
                   4   and incorporates them herein by reference.
                   5                 CoStar’s watermark constitutes CoStar’s protected CMI.
                   6                 CREXi has distributed and is distributing CoStar’s protected works, or
                   7   copies of works, knowing that protected CMI has been removed or altered without
                   8   CoStar’s authority.
                   9                 CREXi distributed CoStar’s CMI while knowing, having reasonable
               10      grounds to know, and with the intent that it would induce, enable, facilitate, and/or
               11      conceal infringement of CoStar’s copyrights, in violation of 17 U.S.C. §
               12      1202(b)(3).
               13                    CoStar has suffered damage and loss as a result of these violations.
               14                    CoStar has suffered and will continue to suffer irreparable harm as a
               15      result of CREXi’s continued distribution of CoStar’s protected works, or copies of
               16      works, knowing that protected CMI has been removed or altered without CoStar’s
               17      authority, and, as such, CoStar has no adequate remedy at law.
               18                               FOURTH CLAIM FOR RELIEF
               19                               Common Law Misappropriation
               20                    CoStar repeats and realleges each and every allegation set forth above,
               21      and incorporates them herein by reference.
               22                    CoStar has invested substantial time, labor, skill, and financial
               23      resources into the creation and maintenance of CoStar’s services, its computer
               24      systems and servers, including system and server capacity, as well as the content
               25      on CoStar’s database, subscription service, and the LoopNet website. This
               26      includes CoStar’s substantial efforts to assist brokers in building out their listings
               27      on LoopNet by adding copyrighted photographs and data from CoStar’s database
               28      and by curating brokers’ LoopNet listings to increase marketability, including

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                   1   editing broker-submitted content. CoStar goes to great lengths, in terms of time,
                   2   number of research and marketing personnel, and invested dollars, to manage,
                   3   update, and curate its verified listings and provide a seamless, up-to-date user
                   4   experience that constitutes a substantial portion of CoStar’s value proposition.
                   5                Without authorization, CREXi wrongfully accessed and appropriated
                   6   CoStar’s services, computer systems and servers, and its content without having to
                   7   make the substantial investment in time, labor, skill, and financial resources made
                   8   by CoStar. CREXi is in direct competition with CoStar and has made CoStar’s
                   9   content available to CREXi’s users. As such, CREXi’s use of CoStar’s computer
               10      systems and servers, including system and server capacity, as well as CoStar’s
               11      content, constitutes free-riding on CoStar’s substantial investment of time, effort,
               12      and expense.
               13                   CoStar has also invested substantial time, labor, skill, and financial
               14      resources into the creation and maintenance of CoStar’s Professional Directory
               15      records. CoStar goes to great lengths, in terms of time, number of research
               16      personnel, and invested dollars, to manage and update these broker directory
               17      records to ensure accurate customer leads and provide the value users expect when
               18      engaging with CoStar’s services.
               19                   Without authorization, CREXi wrongfully accessed and appropriated
               20      CoStar’s Professional Directory records without having to make the substantial
               21      investment in time, labor, skill, and financial resources made by CoStar. CREXi is
               22      in direct competition with CoStar and, upon information and belief, CREXi has
               23      used these directory records to build its rival directory and find potential customers
               24      for CREXi’s marketplace. As such, CREXi’s use of CoStar’s Professional
               25      Directory records constitutes free-riding on CoStar’s substantial investment of
               26      time, effort, and expense. CREXI is reaping where it has not sown.
               27                   As a result of this misappropriation, CREXi wrongfully competes
               28      and/or enables others to compete, with CoStar, and CoStar has been forced to

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                   1   expend additional time and resources, including but not limited to, investigating
                   2   CREXi’s activities and attempting to prevent such misappropriation by
                   3   technological means.
                   4                CoStar has been and will continue to be damaged as a result of
                   5   CREXi’s misappropriation of CoStar’s valuable information and property. If
                   6   permitted to continue, the ability of CREXi and other parties to free-ride on
                   7   CoStar’s substantial investment would so reduce CoStar’s incentive to produce
                   8   products or services such as LoopNet that the existence or quality of these products
                   9   or services would be substantially threatened.
               10                   CoStar has suffered and will continue to suffer irreparable injury, and
               11      its remedy at law is not itself adequate to compensate for injuries inflicted by
               12      CREXi.
               13                                FIFTH CLAIM FOR RELIEF
               14                                California Unfair Competition
               15                   CoStar repeats and realleges each and every allegation set forth above,
               16      and incorporates them herein by reference.
               17                   By the acts described herein, CREXi has engaged in unlawful
               18      business practices. It has done so by misappropriating CoStar’s property, as set
               19      forth in Count Four.
               20                   Separately, by the acts described herein, CREXi has also engaged in
               21      false advertising. To induce brokers, consumers, and the public to use its services,
               22      it has disseminated untrue and misleading statements about its growth, success, and
               23      prowess in the commercial real estate industry, thereby misleading brokers and the
               24      public.
               25                   CREXi knew or should have known by the exercise of reasonable care
               26      that its advertising and promotion of its services was untrue and misleading.
               27                   CREXi’s unlawful business practices and false advertising has injured
               28      and will continue to injure CoStar in its business and property, in violation of

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                   1   California Business and Professions Code Sections 17200, et seq. and 17500, et
                   2   seq.
                   3                CREXi’s acts alleged herein have injured CoStar. CoStar has suffered
                   4   lost transaction opportunities, lost business opportunities, lost market share, and
                   5   present and future diminishing of business value.
                   6                CREXi’s acts alleged herein have also caused, and will continue to
                   7   cause, irreparable injury to CoStar, unless and until CREXi is permanently
                   8   enjoined and ordered to pay appropriate restitution.
                   9                             SIXTH CLAIM FOR RELIEF
               10                              California False Advertising Law
               11                   CoStar repeats and realleges each and every allegation set forth above,
               12      and incorporates them herein by reference.
               13                   By the acts described herein, CREXi has engaged in false advertising.
               14      To induce the public to use its services, it has disseminated untrue and misleading
               15      statements about its products, growth, success, and prowess in the commercial real
               16      estate industry, thereby misleading consumers. As described above, CREXi has
               17      made misleading public statements suggesting that it is organically growing and
               18      gaining market share as a result of broker uploads, its relationships with brokerage
               19      firms, and its purportedly innovative products, services and technology. Moreover,
               20      CREXi has boasted that its recently-launched broker directory is “the only place”
               21      with “every commercial broker in the country.” These statements, and the others
               22      alleged herein, mislead customers—including brokers—and the ultimate
               23      consumers—such as buyers, sellers, owners, and tenants—regarding the way in
               24      which CREXi is facilitating its growth, attracting them to a business that is falsely
               25      portraying itself as legitimate and self-sustainable, when in reality, CREXi is
               26      stealing content from CoStar.
               27                   CREXi knew or should have known by the exercise of reasonable care
               28      that its advertising and promotion of its services was untrue and misleading.

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                   1                 CREXi’s false advertising has injured and will continue to injure
                   2   CoStar in its business and property, in violation of California Business and
                   3   Professions Code Section 17500, et seq.
                   4                 CREXi’s acts alleged herein have injured CoStar. CoStar has suffered
                   5   lost transaction opportunities, lost business opportunities, lost market share, and
                   6   present and future diminishing of business value.
                   7                 CREXi’s acts alleged herein have also caused, and will continue to
                   8   cause, irreparable injury to CoStar, unless and until CREXi is permanently
                   9   enjoined and ordered to pay appropriate restitution.
               10                              SEVENTH CLAIM FOR RELIEF
               11                                      Breach of Contract
               12                    CoStar repeats and realleges each and every allegation set forth above
               13      and incorporates them herein by reference.
               14                    Use of CoStar’s subscription database and the LoopNet website is
               15      subject to contractually binding terms and conditions. Such terms are common in
               16      the industry, and as a sophisticated business entity, CREXi and its employees
               17      would be well aware of both the presence and binding nature of the terms and
               18      conditions.
               19                    CREXi had actual and/or constructive knowledge that access to the
               20      CoStar database is subject to CoStar’s Terms of Use. As described above, CREXi
               21      employees, acting within the course and scope of their employment for CREXi,
               22      and for CREXi’s benefit, affirmatively accepted CoStar’s Terms of Use that appear
               23      in a pop-up window every 30 days. Additionally, CREXi was on notice of
               24      CoStar’s Terms of Use because references to CoStar’s Terms of Use appear:
               25      directly below the log-in button for the CoStar database; in an email to users before
               26      they log into the database for the first time; whenever users export data from
               27      CoStar’s database; and at the bottom of each results page.
               28

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                   1                CoStar’s Terms of Use prohibit competitors from accessing, using, or
                   2   transmitting any portion of CoStar’s content in the subscription database.
                   3                CoStar’s Terms of Use prohibit competitors from disclosing or
                   4   transmitting any portion of the Service to any direct or indirect competitor of
                   5   CoStar.
                   6                CoStar’s Terms of Use prohibit users from sharing passcodes with any
                   7   other person.
                   8                In direct violation of CoStar’s Terms of Use, CREXi, through its
                   9   authorized agents and employees, accessed CoStar’s subscription database despite
               10      being its competitor, in order to steal the content therein, including broker
               11      directory information, and to use that content to benefit CREXi’s business.
               12                   Further, in direct violation of CoStar’s Terms of Use, CREXi’s
               13      employee and agent, Mr. Hamlin, allowed at least one unauthorized person—
               14      namely, the head of CREXi’s New York office—to use his CoStar credentials.
               15                   CREXi also had actual and/or constructive knowledge that access to
               16      LoopNet was subject to LoopNet’s Terms and Conditions. As described above,
               17      CREXi employees, acting within the course and scope of their employment for
               18      CREXi, and for CREXi’s benefit, have accessed LoopNet’s Terms and Conditions
               19      that specifically prohibit competitive access. Furthermore, actual knowledge can
               20      be imputed to CREXi based on CREXi’s repeated visits to LoopNet. CREXi was
               21      also on notice of LoopNet’s Terms and Conditions because CREXi received
               22      thousands of Error & Abuse notices that all contained a conspicuous hyperlink to
               23      LoopNet’s Terms and Conditions and explained that use of LoopNet was subject to
               24      the terms. Conspicuous hyperlinks to LoopNet’s Terms and Conditions were
               25      displayed on every page of the LoopNet website and directly below the log-in
               26      button for the LoopNet website. CREXi employees who registered for LoopNet
               27      accounts also received an email before signing in for the first time that contained
               28      multiple references to the Terms and Conditions.

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                   1                 LoopNet’s Terms and Conditions prohibit competitors from viewing,
                   2   using, or accessing LoopNet, including using LoopNet for or in connection with
                   3   any other listing service.
                   4                LoopNet’s Terms and Conditions prohibit using or reproducing any
                   5   content obtained from LoopNet for or in connection with any other listing service.
                   6                In direct violation of LoopNet’s Terms and Conditions, CREXi,
                   7   through its authorized agents and employees, accessed LoopNet despite being its
                   8   competitor, in order to steal intellectual property, data, and other content, including
                   9   copyrighted photographs, and use such content on CREXi.com, a listing service.
               10      The actions alleged herein by CREXi employees were undertaken by those
               11      employees in the course of their employment, and were done on behalf of, and for
               12      the benefit of, CREXi.
               13                   CREXi’s breaches of these terms have been material, willful,
               14      repeated, and systematic.
               15                   CREXi caused damage and continues to cause irreparable harm to
               16      CoStar by building databases and selling data based, at least in part, on CoStar
               17      content derived as a result of contractual breaches.
               18                   CoStar is therefore entitled to damages in an amount to be proven at
               19      trial, injunctive relief, and other relief as the Court deems appropriate.
               20                                    PRAYER FOR RELIEF
               21            WHEREFORE, CoStar prays for relief as follows:
               22            1.     For an order pursuant to 17 U.S.C. § 502 permanently enjoining and
               23                   restraining CREXi and its officers, agents, servants, and employees
               24                   and all those in active concert or participation with them from directly
               25                   committing, aiding, encouraging, enabling, inducing, causing,
               26                   materially contributing to, or otherwise facilitating the infringements
               27                   of CoStar’s exclusive rights under the Copyright Act, or from
               28                   authorizing any other person to do the same;

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                   1   2.    For an award pursuant to 17 U.S.C. § 504 of CoStar’s actual damages
                   2         and CREXi’s profits or, alternatively at CoStar’s election, for
                   3         statutory damages for CREXi’s infringement and willful
                   4         infringement—including without limitation for the instances of
                   5         infringement identified in Exhibit C, and other instances of
                   6         infringement subsequently disclosed or uncovered during discovery—
                   7         in the maximum amount allowable by law;
                   8   3.    For a finding that CREXi has willfully infringed CoStar’s federally
                   9         registered copyrights;
               10      4.    For an award pursuant to 17 U.S.C. § 1203 of CoStar’s actual
               11            damages and CREXi’s profits, or alternatively at CoStar’s election,
               12            for statutory damages for CREXi’s violations of the DMCA in the
               13            maximum amount allowable by law;
               14      5.    For an order permanently enjoining and restraining CREXi and its
               15            officers, agents, servants, and employees from accessing CoStar
               16            websites and the databases that power them;
               17      6.    For a finding that CREXi’s access to CoStar’s websites and databases
               18            is unauthorized;
               19      7.    For an award of damages arising from CREXi’s breaches of CoStar’s
               20            and LoopNet’s binding terms and conditions;
               21      8.    For an order permanently enjoining and restraining CREXi and its
               22            officers, agents, servants, and employees and all those in active
               23            concert or participation with them from breaching CoStar’s and
               24            LoopNet’s binding terms of service;
               25      9.    For an award of damages arising from CREXi’s misappropriation of
               26            data and content from CoStar’s computers and servers;
               27      10.   For an order permanently enjoining and restraining CREXi and its
               28            officers, agents, servants, and employees and all those in active

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                   1         concert or participation with them from directly committing, aiding,
                   2         encouraging, enabling, inducing, causing, materially contributing to,
                   3         or otherwise facilitating the misappropriation of CoStar data and
                   4         information;
                   5   11.   For an order granting all available relief under California Business
                   6         and Professions Code Sections 17203 and 17535, including without
                   7         limitation restitution for CREXi’s wrongful gains for its unfair
                   8         competition and false advertising;
                   9   12.   For an order permanently enjoining and restraining CREXi and its
               10            officers, agents, servants, and employees and all those in active
               11            concert or participation with them from directly committing, aiding,
               12            encouraging, enabling, inducing, causing, materially contributing to,
               13            or otherwise facilitating CREXi’s unfair competition and false
               14            advertising;
               15      13.   For further permanent injunctive relief as deemed necessary by the
               16            Court, including without limitation for an order pursuant to 17 U.S.C.
               17            §503(b) or otherwise requiring the purging and destruction of all
               18            CoStar content from CREXi’s database(s) and system(s) by an
               19            independent source that reports to CoStar and the Court and monitors
               20            CREXi’s future compliance with the Court’s orders;
               21      14.   For an award of CoStar’s costs, including its reasonable attorneys’
               22            fees;
               23      15.   For pre-judgment and post-judgment interest according to law;
               24      16.   For exemplary and punitive damages to the extent available; and
               25      17.   For such further and additional relief as the Court may deem just and
               26            proper.
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                   1                                   JURY DEMAND
                   2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Civil L.R.
                   3   38-1, CoStar hereby demands a trial by jury.
                   4   Dated: December 14, 2020                  Respectfully submitted,
                   5

                   6                                             /s/ Jessica Stebbins Bina
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